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                               EXHIBIT LIST TO
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                       D/B/A THE TELAH FOUNDATION’S
         BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

                                  CASE NO. 3:22-CV-395-JD-MGG

     THE EVOLUTIONARY LEVEL ABOVE HUMAN, INC. D/B/A THE TELAH
                          FOUNDATION

                                                  V.

                                 STEVEN ROBERT HAVEL, ET AL.

EXHIBIT               DATE                   TITLE OF DOCUMENT / DESCRIPTION
  A.                January 22,     Declaration of Mark King in Support of Plaintiff’s Motion for
                       2023         a Preliminary Injunction.

  1.              August 19, 2022 Defendant Jason Bartel’s blog post dated August 19, 2022
                                    (https://crlody.wordpress.com/2022/08/19/tapes-1-218-on-a-
                                    google-drive/ (last accessed on December 5, 2022)).

  2.              November 16,      Copy of the website that was linked in Defendant Jason Bartel’s
                  2022              blog         post       dated        August       19,    2022
                                    (https://drive.google.com/drive/u/2/folders/11ExoXaKa_mFbmHQ
                                    yhSSuVBROeOMlwse3 (last accessed November 16, 2022)).

  3.              October 12,       Defendant Jason Bartel’s blog post dated October 12, 2022
                  2022              (https://crlody.wordpress.com/2022/10/12/the-heavens-gate-book-
                                    on-sale-for-500-on-ebay-and-more-telah-copyrighted-merch/ (last
                                    accessed December 5, 2022)).

  4.              October 19,       Defendant Jason Bartel’s blog post dated October 19, 2022
                  2022              (https://crlody.wordpress.com/2022/10/19/to-hell-with-going-
                                    dark-this-archive-of-the-class-audio-tapes-wouldnt-be-possible-
                                    without-the-work-of-an-individual-who-risked-incurring-the-legal-
                                    wrath-of-the-incredibly-petty-couple-mark-and/ (last accessed
                                    December 5, 2022)).

  5.              December 5,       The Website containing the “Heaven’s Gate Audio Tapes,” the link
                  2022              to which was within Mr. Bartel’s post attached as Exhibit 3
                                    (https://archive.org/details/HPM-HeavensGateAudio (last accessed
                                    December 5, 2022)).

  6.              October 7, 2022   Screenshot of Mr. Havel and Ms. Weaver’s October 7, 2022, “live
                                    stream” on YouTube reflecting transcript from 53:47 to 54:42.

  7.              October 7, 2022   Screenshot of Mr. Havel and Ms. Weaver’s October 7, 2022, “live
                                    stream” on YouTube reflecting transcript from 1:17:16 to 1:18:06.
                                    (https://www.youtube.com/watch?v=GyR8J2D8f3g (last accessed
                                    December 5, 2022)).



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                                 CASE NO. 3:22-CV-395-JD-MGG

EXHIBIT     DATE                             TITLE OF DOCUMENT / DESCRIPTION
  8.    October 7, 2022            Defendant Jason Bartel’s blog post dated October 7, 2022
                                   (https://crlody.wordpress.com/2022/10/07/new-link-for-the-audio-
                                   tapes/ (last accessed December 5, 2022)).

  9.              December 5,      Copy of the website that was linked in Defendant Jason Bartel’s
                  2022             blog post dated October 7, 2022 (https://archive.org/details/HPM-
                                   HeavensGateAudio (last accessed December 5, 2022)).

  10.             November 3,      Screenshot of Mr. Havel and Ms. Weaver’s October 7, 2022, “live
                  2022             stream” on YouTube reflecting transcript from 2:07:35 to 2:08:52
                                   (https://www.youtube.com/watch?v=ukk5XOCFyMU                (last
                                   accessed December 5, 2022)).

  11.             November 28,     Defendant Jason Bartel’s blog post dated November 28, 2022
                  2022             (https://crlody.wordpress.com/2022/11/28/what-mark-and-sarah-
                                   king-dont-want-others-to-hear-on-the-class-audio-tapes/    (last
                                   accessed December 5, 2022)).

  12.             November 28,     Copy of the website that was linked in Defendant Jason Bartel’s
                  2022             blog        post       dated      November      28,        2022
                                   (https://archive.org/details/HPM-HeavensGateAudio (last accessed
                                   December 5, 2022)).

  13.             January 19,      Home page of Heavensgate.com (https://www.heavensgate.com
                  2023             (last accessed January 19, 2023)).

  14.             January 19,      Home            page           of        Heavensgatealso.com
                  2023             (https://www.heavensgatealso.com (last accessed January 19,
                                   2023)).

  15.             December 25,     Screenshot of Mr. Havel and Ms. Weaver’s December 25, 2022,
                  2022             “live stream” on YouTube reflecting transcript from 1:04:56 to
                                   1:06:00 (https://www.youtube.com/watch?v=D0i94iWqdiU at
                                   1:05:08-1:05:16 (last accessed on January 19, 2023)).

  16.             December 25,     Screenshot of Mr. Havel and Ms. Weaver’s December 25, 2022,
                  2022             “live stream” on YouTube reflecting transcript from 1:06:00 to
                                   1:06:57 (https://www.youtube.com/watch?v=D0i94iWqdiU at
                                   1:05:08-1:05:16 (last accessed on January 19, 2023)).

  17.             January 15,      Defendant Jason Bartel’s blog post dated January 15, 2023
                  2023             (https://www.youtube.com/watch?v=D0i94iWqdiU at 1:05:59-
                                   1:06:50 (last accessed on January 19, 2023)).

  18.             January 15,      Copy of the website that was linked in Defendant Jason Bartel’s
                  2023             blog post dated January 15, 2023 (https://archive.org/details/HPM-
                                   HeavensGateAudio (last accessed January 19, 2023)).

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        FOUNDATION’S MOTION FOR A PRELIMINARY INJUNCTION

                                CASE NO. 3:22-CV-395-JD-MGG

EXHIBIT      DATE                           TITLE OF DOCUMENT / DESCRIPTION
  19.   January 16,               Defendant Jason Bartel’s blog post dated January 16, 2023
        2023                      (https://crlody.wordpress.com/2023/01/16/thanks-to-all-who-have-
                                  tried-to-disseminate-the-class-information/ (last accessed January
                                  19, 2023)).
  B.              October 27,     Cathy Weaver’s Voluntary Petition for Individuals Filing for
                  2022            Bankruptcy.




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                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF INDIANA
                                     SOUTH BEND DIVISION

           The Evolutionary Level Above Human,             CASE NO. 3:22-CV-395-JD-MGG
           Inc. d/b/a The Telah Foundation, an
           Arizona nonprofit corporation,

                                Plaintiff,
                  v.

           Steven Robert Havel,
           Cathy JoAnn Weaver,
           Jason Bartel,

                                Defendants.

                          DECLARATION OF MARK KING IN SUPPORT OF
                      PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
                 I, Mark King, declare under penalty of perjury and pursuant to 28 U.S.C. § 1746
          that the following is true and correct. If called to testify in Court about these matters, I
          could and would competently testify to the following:
                 1.     I am over the age of eighteen and am a resident of Maricopa County, Arizona.
                 2.     I am the President and a director of The Evolutionary Level Above Human,
          Inc. d/b/a The Telah Foundation (the “Foundation” or “Plaintiff”).
                 3.     I have personal knowledge of the matters stated in this Declaration or have
          such knowledge as a result of reviewing Plaintiff’s business records.
                 4.     I have reviewed the Complaint (Docket No. 1) filed in connection with the
          above-captioned matter and state that I am aware of the factual averments made therein
          and the factual averments made therein are true and accurate. To the extent, if any that
          there are any inconsistencies between the Complaint and this declaration, this declaration
          should govern because it is based on information and documentation that has been learned
          and obtained, respectively, since the date the Complaint was filed.



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                 5.     Total Overcomers Anonymous, T.O.A., or Heaven’s Gate (“Heaven’s Gate”)
          was a group that gained notoriety in 1997, when the majority of its members (39 members)
          engaged in a ritualistic mass suicide that coincided with the approach of the Hale-Bopp
          Comet.
                 6.     Throughout the 1980’s and 1990’s Heaven’s Gate created a number of
          works, including the following:
                        a. A series of audio tapes (the “Audio Works”);
                        b. Certain video works (the “Video Works”);
                        c. A literary work entitled “How and When Heaven’s Gate’ (the door to the
                           physical kingdom level above human) may be entered: an anthology of
                           our materials” (the “Literary Work”); and
                        d. A visual work of “The C.B.E.” (the “Visual Work”).
                 7.     Heaven’s Gate also adopted and used trademarks in connection with its work
          (the “Trademarks”).
                 8.     Plaintiff, which is a not-for-profit organization, acquired the intellectual
          property rights related to these works and trademarks in or around 1999, following the
          passing of the 39 Heaven’s Gate members and after a lengthy court battle
                 9.     The Registration Certificates attached to Complaint as Exhibits A, B, F, G
          are true and accurate copies of United Stated intellectual property registration certificates
          for intellectual property owned by the Foundation.
                 10.    Beginning in September 2021, Defendants Havel and Weaver started
          broadcasting audio from the Foundation’s copyrighted material on their YouTube channel.
                 11.    Defendants Havel and Weaver started broadcasting the audio works on the
          3spm YouTube channel, which belongs to Mr. Havel but is operated by Mr. Havel and Ms.
          Weaver, and advertising these public performances on Havel’s twitter channel.
                 12.    True and accurate representations of the advertisements of these public
          performances are shown below, along with the accurate URLs at which the advertisements



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          were accessed, although some URLs may no longer work because Defendants have
          removed some online postings and/or made private online postings:




          (Previously available at: https://twitter.com/Sawyerdoti/status/1435464433388634116 and
          https://twitter.com/Sawyerdoti/status/1433645089046376449 (last visited May 16, 2022)).
                 13.    When these public performances of Plaintiff’s copyrighted materials began
          in the Fall of 2021, Plaintiff demanded that Defendants stop infringing on Plaintiff’s
          copyrights and Plaintiff sought to resolve this matter amicably.
                 14.    Defendants have refused all such overtures.




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                 15.    Despite conversations between the Foundation and Defendants, Defendants
          have refused to stop airing YouTube videos incorporating the Foundation’s copyrighted
          material.
                 16.    The “3spm” YouTube channel has increased its use of the Foundation’s
          copyrighted content in recent weeks playing numerous copies of the Foundation’s
          copyrighted content, including audio tapes 204, 203, 202, 201, 200, 50, and 52—and
          repeatedly using Plaintiff’s registered copyrighted “C.B.D.” image, as shown here:




          (https://www.youtube.com/c/3spmSwy/videos (last visited May 16, 2022)).
                 17.    Mr. Havel and Ms. Weaver have also used the 3spm YouTube channel to
          disseminate the URLs of the copyrighted recordings that have been impermissibly
          uploaded to Google drive and made available by Defendants.
                 18.    On May 13, 2022’s live stream, Defendant Weaver states: “There’s several
          tapes, there are over 900-plus tapes available, audios, which we’ve been playing on the
          channel and if you email us we can give you a link to the google drive and point out specific



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          tapes…” This video was available at https://www.youtube.com/watch?v=ld2l2JamEOY,
          but has since been designated “private.” It was last visited May 16, 2022.
                 19.   On or about August 2021, Defendant Bartel posted an archive of the
          Foundation’s copyrighted audio and video works online.
                 20.   This initial posting was subsequently taken down by a DMCA request.
                 21.   Following the removal of the archive, Mr. Bartel then created two additional
          archives on Google Drive that allow for individuals to freely download the Foundation’s
          copyrighted material.
                 22.   Mr. Bartel also encourages people to contact him for access to a third cache
          of the Foundation’s copyrighted materials, on his personal blog.
                 23.   Below is a true and accurate copy of a posting by Mr. Bartel on his blog dated
          April 18, 2022, and was previously available at the URL shown below.




          See Doc. 9-1; see also https://crlody.wordpress.com/2022/04/18/the-4shared-accts-have-
          been-shut-down-by-telah-but-the-google-drives-still-have-ti-and-dos-audio-tapes/.
                 24.   On August 19, 2022, Mr. Bartel posted tapes 1-218 on his blog. A copy of
          Mr. Bartel’s post dated August 19, 2022, is attached hereto as Exhibit 1; see also
          https://crlody.wordpress.com/2022/08/19/tapes-1-218-on-a-google-drive/ (last accessed
          on December 5, 2022); a copy of the website that was linked to the August 19, 2022, blog



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          post, which reflects that “CRL ODY” uploaded the audio tapes is attached hereto as Exhibit
          2.
                 25.      On October 12, 2022, Mr. Bartel wrote a comment on a post that he uploaded
          to his blog on October 12, 2022, that “I’m getting sued for putting [Plaintiff’s] tapes on
          free, file sharing sites.” A copy of Mr. Bartel’s post dated October 12, 2022, is attached
          hereto as Exhibit 3; see also https://crlody.wordpress.com/2022/10/12/the-heavens-gate-
          book-on-sale-for-500-on-ebay-and-more-telah-copyrighted-merch/              (last     accessed
          December 5, 2022).
                 26.      On October 19, 2022, Mr. Bartel posted on his blog:
                       To hell with going dark.This [sic] archive of the [Heaven’s Gate] audio
                       tapes wouldn’t be possible without the work of an individual who risked
                       incurring the “legal” wrath of the incredibly petty couple Mark and Sarah
                       King, these tapes belong to the world, not a Corporation formed six
                       months after the class left this world[.]

          A copy of Mr. Bartel’s post dated October 19, 2022, is attached hereto as Exhibit 4; see
          also    https://crlody.wordpress.com/2022/10/19/to-hell-with-going-dark-this-archive-of-
          the-class-audio-tapes-wouldnt-be-possible-without-the-work-of-an-individual-who-
          risked-incurring-the-legal-wrath-of-the-incredibly-petty-couple-mark-and/ (last accessed
          December 5, 2022).
                 27.       Mr. Bartel’s October 19, 2022, post contains a link to a website that contains
          an audio library of “Heaven’s Gate Audio Tapes” and the website states “These files have
          been made available to me through an ex-member who goes by the name crlody. Here is
          their blog about The TELAH Foundation: https://crlody.wordpress.com/.” A copy of the
          Website containing the “Heaven’s Gate Audio Tapes,” the link to which was within Mr.
          Bartel’s post attached as Exhibit 4, is attached hereto as Exhibit 5; see also
          https://archive.org/details/HPM-HeavensGateAudio (last accessed December 5, 2022).




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                 28.    Defendants Havel and Weaver have stated that they are working with
          Defendant Bartel to spread the Foundation’s copyrighted material without the Foundation’s
          permission. As but one example, Havel and Weaver stated on Weaver’s website that:
                 So just weeks ago, [a third party] who I had been in contact with on and off
                 for years sent me the digitized audios, all in .mp3 format and I quickly sent
                 them to [Defendant Bartel] and someone else who I know I can trust to be
                 sure to upload them to the internet in mulitple [sic] places so that even if [the
                 Foundation] somehow sue us it will be far too late to keep them from being
                 available to those who want to listen to them.

          (Complaint at Exhibit H, July 2021 Post by Defendants at 3.)
                 29.    Exhibit H to the Complaint referenced above, is a true and accurate copy of
          the July 2021 posting on Mr. Sawyer’s website.
                 30.    The longer these files are available to download the less likely it is that the
          Foundation will be able to control the dissemination of its intellectual property.
                 31.    Defendants do not appear to have any intention of ceasing their copyright
          violations.
                 32.    On November 3, 2021, Defendants Weaver and Havel stated in their
          livestream on the 3spm YouTube channel that they would not stop distributing the
          copyrighted material and stated as follows:
                 Weaver: “Everyone is going to have the tapes, and they can take and
                       duplicate them.”
                 Havel: “How you going to stop people from doing that?”
                 ...
                 Weaver: “…what’s to say that the Next Level info won’t go back under lock
                       and key for another 24 years? Well, it’s not. . . because, I’m not going
                       to let that happen.
                 Havel: “And a lot of people, actually who aren’t going to let that happen.”

          This video was available at https://www.youtube.com/watch?v=NUzeenzlnuM, but has
          since been designated “private.”




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                 33.    On January 27, 2022, in their YouTube video, Defendant Weaver stated that
          she would advise people to lie if asked to destroy unauthorized copies of the copyrighted
          material, as quoted below:
                 “… [the files] are uploaded to a couple of different sites now actually, so,
                 and it’s great, keep them, I mean we shouldn’t be saying that but…
                 “Everybody destroy them, destroy them, wink, wink, don’t really but say that
                 you did…”

          This video was available at https://www.youtube.com/watch?v=FlwOBIExXLc, but has
          since been designated “private.”
                 34.    On March 28, 2022, in their YouTube video, Defendant Havel stated that, if
          forced to shutdown his channel, he would defy such a shutdown by creating a new channel
          that he would hide, as quoted below:
                 “And, uh, I don’t intend to let this channel come down. And, even if it did I
                 would start another one and then they would have to find me and, uh, you
                 know, shut me down. This isn’t the first attempt on this channel and it won’t
                 be the last.”

          This video was available at https://www.youtube.com/watch?v=mB8YOQSlg2Q, but has
          since been designated “private.”
                 35.    On April 8, 2022, in their YouTube video, Defendant Weaver encouraged
          people to email them to get copies of the copyrighted material, as follows:
                 “Go ahead and email us . . . email us if you don’t know where the tapes are .
                 . . please email us and we’ll direct you to them.”

          This video was available at https://www.youtube.com/watch?v=HNgOa0f4Bbw, but has
          since been designated “private.”
                 36.    On    May      1,    2022,   in       their   YouTube   video   (available   at
          https://www.youtube.com/watch?v=GD5UwunEUsY), Defendant Havel acknowledged
          his role in the copyright infringement scheme and stated:
                 “And, uh, and technically, um, they could hold me accountable for that, so
                 I’m not going to say how many, I’m not gonna even try to guess, ’cus I don’t
                 remember. Uh, but, um, ’cus I can take the fifth that it would tend to



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                 incriminate me. So I’ll do that, uh, even thought they could probably hear
                 this tape and say, “oh you say that.” So, I dunno. If that gets used against
                 me, that’s the way it goes. They’re still not going to get any money from
                 me and it’s not going to stop the material from circulating, because we’re
                 all, [Bartel] and myself, Cathy, and [a third party], and other people are
                 circulating the tapes.”

          (Emphasis          added).        This           video       was         available         at
          https://www.youtube.com/watch?v=GD5UwunEUsY, but has since been designated
          “private.”
                 37.    On August 25, 2022, Mr. Bartel, aka Crlody, posted online “We made copies
          of the audio tapes and digitized them and put them on CD-ROMs. I still give away these
          CDs to this day.” This post has been taken down by Mr. Bartel.
                 38.    On October 7, 2022, Mr. Havel and Ms. Weaver broadcast a “live stream”
          on YouTube, during which time Mr. Havel stated “maybe we’ll lose, but that won’t stop
          me and Kathy [Weaver] and [Mr. Bartel] from telling the truth.” (Emphasis added). A
          screenshot reflecting that portion of the YouTube video and the transcript is attached hereto
          as Exhibit 6; see also https://www.youtube.com/watch?v=GyR8J2D8f3g at 54:01-54:09
          (last accessed December 5, 2022).
                 39.    Later in Mr. Havel and Ms. Weaver’s October 7, 2022, stream, the following
          statements were made:
                 . Weaver: “Once it’s done and whatever the outcome is, if its not favorable,
                 we’re out of here.”

                 Mr. Havel: “Right, but we don’t know what we’re going to do exactly.”

                 Ms. Weaver: “We’re gonna share the fucking information. I know I
                 shouldn’t say that, but like you said-”

                 Mr. Havel: “Well, yeah, we’re going to share the information one way or
                 the other –”

                 Ms. Weaver: “And they won’t be able to touch us.”

                 Mr. Havel: “You know, I’m not saying which information and how. Maybe
                 it’s just out of our mouths from our memories because they don’t use that


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                 against us –”

                 Ms. Weaver: “They’re going to use everything against us. That’s why their
                 shady, shady lawyers wanted us to call so they can trip us up but we already
                 know that we don’t have to do that so –”

                 Mr. Havel: “Right, we talked to the clerk today –”

                 Ms. Weaver: “-Nanny nanny poo poo.”

          A screenshot of that portion Mr. Havel and Ms. Weaver’s October 7, 2022, is attached
          hereto as Exhibit 7; see also https://www.youtube.com/watch?v=GyR8J2D8f3g 1:17:17-
          1:18:00 (last accessed December 5, 2022).
                 40.    On October 7, 2022, Mr. Bartel posted on his blog an entry titled “New Link
          for the audio tapes,” which contained a link to hundreds of Heaven’s Gate tapes, and stated,
          in part, “To hell with [Telah’s Directors].” A copy of the October 7, 2022, blog post is
          attached hereto as Exhibit 8; see also https://crlody.wordpress.com/2022/10/07/new-link-
          for-the-audio-tapes/; a copy of the website that was linked in the blog post is attached
          hereto as Exhibit 9; see also https://archive.org/details/HPM-HeavensGateAudio (last
          accessed December 5, 2022) .
                 41.    The website containing hundreds of Heaven’s Gate Tapes that was linked in
          Mr. Bartel’s October 7, 2022, blog post states that “These files have been made available
          to me through an ex-member who goes by the name crlody.” See Exhibit 9.
                 42.    On October 19, 2022, Mr. Bartel announced, “To hell with going dark,”
          while simultaneously sharing Plaintiff’s copyrighted materials. See Exhibit 4.
                 43.    On November 3, 2022, Mr. Havel and Ms. Weaver broadcast a “live stream”
          on YouTube, during which time Ms. Weaver stated “like they instigated this again right
          because we sold nine shirts and played less than 13 audios for free.” Screenshot of Mr.
          Havel and Ms. Weaver’s October 7, 2022, “live stream” on YouTube reflecting transcript
          from    2:07:35    to   2:08:52,    attached     hereto   as   Exhibit    10;    see   also




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          https://www.youtube.com/watch?v=ukk5XOCFyMU at 2:07:54 (last accessed December
          5, 2022).
                  44.    On November 28, 2022, Mr. Bartel published a blog post titled “What
          [Plaintiff’s Directors] don’t want others to hear on the class’ audio tapes,” while
          simultaneously sharing Plaintiff’s copyrighted materials. A copy of the November 28,
          2022,       blog     post   is     attached    hereto        as      Exhibit         11;   see    also
          https://crlody.wordpress.com/2022/11/28/what-mark-and-sarah-king-dont-want-others-
          to-hear-on-the-class-audio-tapes/ (last accessed December 5, 2022); a copy of the website
          that was linked in the blog post is attached hereto as Exhibit 12; see also
          https://archive.org/details/HPM-HeavensGateAudio (last accessed December 5, 2022) .
                  45.    Plaintiff    owns     and      operates       a      website         with   the    URL
          “https://www.heavensgate.com/”.               A     copy            of        the     homepage     of
          “https://www.heavensgate.com/” is attached hereto as Exhibit 13.
                  46.    Mr. Havel and Ms. Weaver have been promoting a copycat website with the
          URL      “https://heavensgatealso.com/”.            A        copy        of    the     homepage    of
          “https://heavensgatealso.com/” is attached hereto as Exhibit 14.
                  47.    https://heavensgatealso.com/             is          nearly           identical      to
          https://www.heavensgate.com/, with the exception being that requests for materials are
          directed to “rep@heavensgatealso.com” instead of “rep@heavensgate.com.” Compare
          Exhibit 13 at 3, with Exhibit 14 at 3.
                  48.        On December 25, 2022, Mr. Havel and Ms. Weaver broadcast a “live
          stream” on YouTube, during which time they admitted that “[they] have a website that
          [they]’re promoting [that]’s called heavensgatealso.com, which is the same code.”
          Screenshot of Mr. Havel and Ms. Weaver’s December 25, 2022, “live stream” on YouTube
          reflecting transcript from 1:04:56 to 1:06:00 at 1:05:08, attached hereto as Exhibit 15; see
          also https://www.youtube.com/watch?v=D0i94iWqdiU at 1:05:08-1:05:16 (last accessed
          on January 19, 2023).



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                 49.    During the December 25, 2022, “livestream” Mr. Havel stated that he offered
          to assist in changing the html code on the heavensgatealso.com website so that it listed a
          different email address, and Ms. Weaver stated that there have been discussions so that
          emails sent to the rep@heavensgatealso.com email address would be delivered to Mr.
          Havel and Ms. Weaver. Screenshot of Mr. Havel and Ms. Weaver’s December 25, 2022,
          “live stream” on YouTube reflecting transcript from 1:06:00 to 1:06:57 at 1:06:00-1:06:31,
          attached hereto as Exhibit 16; see also https://www.youtube.com/watch?v=D0i94iWqdiU
          at 1:05:59-1:06:50 (last accessed on January 19, 2023).
                 50.    On January 15, 2023, Mr. Bartel uploaded a blog post that contains a link to
          a website that contains an audio library of “Heaven’s Gate Audio Tapes” and the website
          states “These files have been made available to me through an ex-member who goes by the
          name crlody.” A copy of the January 15, 2023, blog post is attached hereto as Exhibit 17;
          see also https://crlody.wordpress.com/2023/01/15/instead-of-creating-an-archive-of-the-
          class-materials-as-a-court-ordered-them-to-do-in-1999-the-telah-foundation-sued-those-
          of-who-did-create-one-in-2021/ (last accessed January 19, 2023); a copy of the website
          that was linked in the blog post is attached hereto as Exhibit 18; see also
          https://archive.org/details/HPM-HeavensGateAudio (last accessed January 19, 2023).
                 51.    On January 16, 2023, Mr. Bartel published a blog post in which Mr. Bartel
          gives “[t]hanks to all who have tried to disseminate” the “audio tapes” and for “stand[ing]
          up” to the “Telah Foundation.” A copy of the January 16, 2023, blog post is attached hereto
          as Exhibit 19; see also https://crlody.wordpress.com/2023/01/16/thanks-to-all-who-have-
          tried-to-disseminate-the-class-information/ (last accessed January 19, 2023).
                 52.    The revenue generated through Plaintiff’s operations is de minimis. Plaintiff
          has been able to maintain its existence because its Plaintiff’s directors have contributed
          funds so that Plaintiff can pay the de minimis expenses associated with Plaintiff’s
          operations.




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                 53.    The legal expenses associated with Plaintiff pursuing its claims against
          Defendants are not considered typical operating expenses. Plaintiff’s legal expenses have
          already greatly exceeded Plaintiff’s business operations. The cost of filing this action
          ($402) has exceeded the amount of annual income that Plaintiff earned in 2021. The cost
          of serving Defendants, one of whom evaded service (Mr. Bartel), was significant.
                 54.    The expenses that Plaintiff has incurred in connection with its important and
          necessary legal action of Defendants are not sustainable for Plaintiff, which is a not-for-
          profit and does not generate a stream of revenue.
                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
          is true and correct.
                 Date: ___________________.


                                                           _____________________________
                                                           Mark King
                                                           President
                                                           The Evolutionary Level Above Human,
                                                           Inc. d/b/a The Telah Foundation, an
                                                           Arizona nonprofit corporation




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                        EXHIBIT 1
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   Tapes 1-218 on a google drive
   Posted on August 19, 2022 by crlody


   I’m glad that the Kings had Dave G digitize these as the files that RKK and I created were of much lower quality,
   compression technology in 1997 vs. 2008. I had the lower quality Right To Know files on 4shared from @2008 to
   2021 and the TELAH Foundation only started to have copyright strikes made after tapes above # 218 were added.
   And apparently they can’t make strikes against tapes above 486 as they only copyrighted those 486 in September
   of 1997 when they filed. These 218 tapes were on the Right To Know CDs that I’ve given away since 1997. That CD
   was registered with the Library of Congress in 1997 by Right To Know Enterprises. Three sets of cassettes of these
   218 tapes were given to three Universities by Right To Know in 1997. I have never sold one of these CDs but others
   have been selling them online. TELAH has not, to my knowledge, threatened any of these sellers with “$91
   million” in copyright fines.

   https://drive.google.com/drive/u/2/folders/11ExoXaKa_mFbmHQyhSSuVBROeOMlwse3


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                         a former student of Ti and Do
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   crlody




https://crlody.wordpress.com/2022/08/19/tapes-1-218-on-a-google-drive/                                                  1/1
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                        EXHIBIT 2
11/16/22, 6:04 PM                                                              HG Tapes 1-212 and more - Google Drive
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            006_A 08291982 61 min Book information - 3 faces of Lucifer - updates. One real God (1).mp3
          Drive                                                                                      Details              Sign in


  HG Tapes 1-212 and more                                                                                             General Info           DOWNLOAD ALL
                                                                                                                      Type                   Audio
            Name                                                                                                                          Last modified
                                                                                                                      Size                   20 MB
                    006_A 08291982 61 min Book information - 3 faces of Lucifer - updates. One real God (1).mp3                           Oct 15, 2021
                                                                                                                      Modified               9:27 AM Oct 15, 2021

                    036_A 12101982 13 min Too close to the light. Retreat dc’d - temporarily.mp3                      Created             Apr11:50
                                                                                                                                              15, 2019
                                                                                                                                                   AM Jan 16

                    038_A 12211982 93 min Auxiliary motor. Lesson of travel funds - get yourself out of whatever you get y…               Jul 22, 2020

                                                                                                                      Sharing
                    058_A 07201983 15 min (damaged recording) Doing things as quickly & as perfectly as possible. Physic…                 Jul 24, 2020
                                                                                                                             Anyone with the link                   Can View
                    100_AB 02251984 70 min Wording of computer entries - wording of programming - consolidating forces…                   Apr 15, 2019
                                                                                                                             CRL ODY                                  Owner
                                                                                                                                                1:37
                    101_A 02271984 29 min Houston applying - wording on our task lists. Obsolete programming - finding a…                 Jan 22, 2019


                    102_AB 03031984 90 min Circuitry - simple direct phrases pertinent to the moment - organic computer -…                Jan 22, 2019
                                                                                                                      Description
                                                                                                                       No description
                    103_C 03031984 15 min Don’t allow guilt if a tape tries to play. Interference - “Stop That!” - the cause of …         Jan 22, 2019


                    105_A 03091984 Foresight & hindsight - example suggestions segments - write what you have overcom…                    Jan 22, 2019
                                                                                                                      Download Permission
                    106_A 03111984 99 min JNN’s task list - putting up a wall-constant adjustment of success - don’t asses…               Jan 22, 2019
                                                                                                                      Viewers can download
                    107_A 0318198 12 min don’t let vehicle’s ignorance judge your ability - difficulty of this task is being so a…        Jan 22, 2019


                    108_AB 03291984 82 min How our information will be brought out. There is a spacecraft overhead - we …                 Jan 22, 2019


                    109_A 03311984 45 min Signs of changing attitudes - God box. Protection of information left - genes of …              Jan 22, 2019


                    110_A 04021984 30 min The nineteen - different task, not different teachers - you send out thoughts wit…              Jan 22, 2019


                    111_AB 04061984 91 min Visit to north craft - grocery store-hastiness. Cutting remarks - sensitivity to o…            Jan 22, 2019


                    112_AB 04081984 68 min Update on primary task - S.T. - monitoring system - you are the important thin…                Jan 22, 2019


                    113_AB 04121984 63 min Warnings - controllable actions - suspected strikes. Effort - not numbers. Che…                Jan 22, 2019


                    114_AB 04131984 93 min Ban on criticism - signal to move quickly. Different retirement procedure - no …               Jan 22, 2019


                    115_A 04141984 33 min Attraction & repulsion - 1. Sat. 3 & answering notes 2. Sleep, rest, spending 3. …              Jan 22, 2019


                    116_A 04161984 16 min Questions & answers about mind - genetic structure the mind Is the mind all of …                Jan 22, 2019


                    117_A 04191984 32 min Suspected strike notes - should be more suspect notes than witness notes. Ex…                   Jan 22, 2019


                    118_AB 04211984 54 min Strike notes - Next Level reasoning - your own alarm - check partners - doing t…               Jan 22, 2019


                    119_A 04231984 24 min Suspects only - write only what’s pertinent. No justifying - strikes change vibrat…             Jan 22, 2019


                    120_AB 04291984 31 min Migration to Dallas - means of accelerating completion – you’ve grown to allo…                 Jan 22, 2019


                    121_AB 04301984 71 min Taken off tasks - feeling defeated - how do I know - when you make waves - n…                  Jan 22, 2019


                    123_A 06221984 43 min Reminder of the lower forces. After spending the time we have on genetics, rec…                 Jan 22, 2019


                    124_A 06301984 32 min Manual to the world.mp3                                                                         Jan 22, 2019


                    125_AB 07071984 92 min Putting yourself first. Realizing that they don't know everything. Afraid to reac…             Jan 22, 2019


                    126_AB 07071984 93 min Marriage, reproduction. Living for the community. Negativity. Quitting. Desire …               Jan 22, 2019


https://drive.google.com/drive/folders/11ExoXaKa_mFbmHQyhSSuVBROeOMlwse3                                                                                                   1/1
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                        EXHIBIT 3
12/5/22, 3:01 PM                                 The Heaven’s Gate book on sale for $500 on ebay and more Telah copyrighted merch | crlody
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   The Heaven’s Gate book on sale for $500 on ebay and more Telah copyrighted merch
   Posted on October 12, 2022 by crlody


   https://www.ebay.ca/itm/204103077304?mkcid=16&mkevt=1&mkrid=711-127632-2357-
   0&ssspo=7l4dn4bysvs&sssrc=2349624&ssuid=g_4goplbstw&var=&widget_ver=artemis&media=SMS

   https://www.ebay.ca/itm/255632914124?
   hash=item3b84e8b6cc:g:zgUAAOSwwrdi0wgO&amdata=enc%3AAQAHAAAAoARFbAI9ojVRJYTUoE08aQpLV
   KgCfGGXigF%2BJV9TQJIkBwWsG25qgL7PaZrUNFSIIhojlQvbM5V6gVbpul4dejyxPkEQc6TPFhhQ8eWl7qW9i3
   6kJBkz5ReL3VZw41ZUasGL5TcWeDSueTkRIg4Ai1fkqOPlqvzm00kPOpVMZrYyGECxVAkSRGW5PRA0eATlPW
   0gwZ8ZiBhBgNBSIjwK55Q%3D%7Ctkp%3ABk9SR7DYiJj5YA


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   2 Responses to The Heaven’s Gate book on sale for $500 on ebay and more Telah
   copyrighted merch

             Jeff says:
             October 12, 2022 at 10:29 am


             The Kings may interpret this as advertising those pieces; be careful, Carlan.
             (Also, my apologies for attaching the ody prefix to my name in the past. In retrospect, that was pretty disrespectful of me,
             being born several years after the class left and not genuinely believing in their teachings.)
             Reply




                          crlody says:
                          October 12, 2022 at 12:36 pm


                          It’s to prove a point, that others are selling things while I’m getting sued for putting the ckass’ tapes on free, file
                          sharing sites.
                          Reply




   crlody




https://crlody.wordpress.com/2022/10/12/the-heavens-gate-book-on-sale-for-500-on-ebay-and-more-telah-copyrighted-merch/                             1/1
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                        EXHIBIT 4
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   To hell with going dark.This archive of the class’ audio tapes wouldn’t be possible without the
   work of an individual who risked incurring the “legal” wrath of the incredibly petty couple
   Mark and Sarah King, these tapes belong to the world, not a Corporation formed six months
   after the class left this world
   Posted on October 19, 2022 by crlody


   https://archive.org/details/HPM-HeavensGateAudio


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https://crlody.wordpress.com/2022/10/19/to-hell-with-going-dark-this-archive-of-the-class-audio-tapes-wouldnt-be-possible-without-the-work-of-an-indiv… 1/1
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                        EXHIBIT 5
12/5/22, 3:10 PM            Heaven's Gate Audio Tapes - 914 Hours of Original Class Audio Recordings : The "Heaven's Gate" Class : Free Download, Borro…
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                                                                    2 036 A - Ti, Do & Students - 12/10/1982 - 13:11

                                                                    3 038 A - Ti, Do & Students - 12/21/1982 - 01:33:44

                                                                    4 058 A - Ti, Do & Students - 07/20/1983 - 15:12

                                                                    5 100 AB - Ti, Do & Students - 02/25/1984 - 01:10:51

                                                                    6 101 A - Ti, Do & Students - 02/27/1984 - 29:46

                                                                    7 102 AB - Ti, Do & Students - 03/03/1984 - 01:30:23

                                                                    8 103 C - Ti, Do & Students - 03/03/1984 - 15:44

                                                                    9 105 A - Ti, Do & Students - 03/09/1984 - 31:20
                                                                    10 106 A - Ti, Do & Students - 03/11/1984 - 01:09:55

                                                                    11 107 A - Ti, Do & Students - 03/18/1984 - 12:43

                                                                    12 108 AB - Ti, Do & Students - 03/29/1984 - 01:22:50




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  Heaven's Gate Audio Tapes - 914 Hours of Original Class Audio Recordings
  by The "Heaven's Gate" Class

  Topics                                                     heaven's gate, Marshall Applewhite, cult, audio, class, instruction, tapes, class, initia-
                                                             tion, recruitment, heavens, heaven's, gate, marshall, applewhite, recordings
  Language                                                   English

  This is a backup of the audio recordings made by the Heavens Gate group of their class sessions.

  These files have been made available to me through an ex-member who goes by the name crlody. Here is their blog about The TELAH Foundation:
  https://crlody.wordpress.com/

  Here is a blog run by a different ex-member, who provides a different perspective and narrative of events: https://sawyerhg.wordpress.com/

  Bulk downloads will not work because the zip file would be too large for Internet Archive to process.

  Please use the magnet links below to download all of the files in bulk.



  Magnet links:
  Zipped version with original filenames:
  magnet:?
  xt=urn:btih:37abed844da6daace22ac41bbebe3585ceae5a28&dn=HeavensGateAudio.zip&tr=udp%3a%2f%2ftracker.openbittorrent.com%3a6969%2fannounce&tr=udp%
  3a%2f%2ftracker.opentrackr.org%3a1337%2fannounce

  Unzipped version with files renamed to work over BitTorrent:
  magnet:?xt=urn:btih:848aaed0813ab360ff7253e680856f0973d377a2&dn=Heaven%27s%20Gate%20Audio%20Tapes%20-
  %20914%20Hours%20of%20Original%20Class%20Audio%20Recordings&tr=udp%3a%2f%2ftracker.openbittorrent.com%3a6969%2fannounce&tr=udp%3a%2f%2ftrack
  er.opentrackr.org%3a1337%2fannounce

  Addeddate                                                  2022-06-01 12:12:02
  Identifier                                                 HPM-HeavensGateAudio
  Scanner                                                    Internet Archive HTML5 Uploader 1.6.4

https://archive.org/details/HPM-HeavensGateAudio                                                                                                                            1/2
12/5/22, 3:10 PM             Heaven's Gate Audio Tapes - 914 Hours of Original Class Audio Recordings : The "Heaven's Gate" Class : Free Download, Borro…
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       844 Views
       1 Favorite


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       ITEM IMAGE                                                                                                                                 1 file

       ITEM TILE                                                                                                                                  1 file

       VBR M3U                                                                                                                                    1 file

       VBR MP3                                                                                                                                827 files

       WORD DOCUMENT                                                                                                                              1 file



       SHOW ALL
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        IN COLLECTIONS




        Community Audio




        Community Collections




        Uploaded by
        HotPreyingMantis
        on June 1, 2022




                                                                  SIMILAR ITEMS (based on metadata) ▶

                                                                                Fetching items



                                                                     Terms of Service (last updated 12/31/2014)




https://archive.org/details/HPM-HeavensGateAudio                                                                                                           2/2
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                        EXHIBIT 6
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                        EXHIBIT 8
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   crlody
   Exposing the TELAH Foundation's lies




   New Link for the audio tapes
   Posted on October 7, 2022 by crlody


   https://archive.org/details/HPM-HeavensGateAudio

   To hell with Mark and Sarah King and their shady lawyers. How do these people sleep at night?


                         About crlody
                         a former student of Ti and Do
                         View all posts by crlody →




   This entry was posted in Uncategorized. Bookmark the permalink.




   6 Responses to New Link for the audio tapes

             xfchg97 says:
             October 9, 2022 at 7:56 am


             The audios were there yesterday evening, but when I checked the link moments ago, they have been taken down.
             Reply




                          crlody says:
                          October 9, 2022 at 12:10 pm


                          It looks like they’re still there right now. Let’s hope that they stay free and available.
                          Reply




             xfchg97 says:
             October 9, 2022 at 12:13 pm


             Yeah I noticed that they were back up about an hour ago. They were yanked down when I checked at 1:42 this morning.
             Reply




                          crlody says:
                          October 9, 2022 at 12:30 pm


                          Interesting.
                          Reply



                                  xfchg97 says:
                                  October 9, 2022 at 3:22 pm

https://crlody.wordpress.com/2022/10/07/new-link-for-the-audio-tapes/                                                              1/2
12/5/22, 4:27 PM                                                        New Link for the audio tapes | crlody
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                                                                                                                       was under
                              the weather and may have clicked on the link you provided in the article just below this one that leads to a
                              page where the audios were taken down. I’m starting to think that it’s possible that I may have clicked on that
                              one by mistake because I was wondering how the uploader could have put up audios in just a few hours
                              between the wee hours of the morning and shortly after 5AM. I’m going to have to conclude that a mistake
                              was made on my end.



                                 crlody says:
                                 October 9, 2022 at 3:53 pm


                                 No worry.



   crlody




https://crlody.wordpress.com/2022/10/07/new-link-for-the-audio-tapes/                                                                           2/2
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                        EXHIBIT 9
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                                                                    4 058 A - Ti, Do & Students - 07/20/1983 - 15:12

                                                                    5 100 AB - Ti, Do & Students - 02/25/1984 - 01:10:51

                                                                    6 101 A - Ti, Do & Students - 02/27/1984 - 29:46

                                                                    7 102 AB - Ti, Do & Students - 03/03/1984 - 01:30:23

                                                                    8 103 C - Ti, Do & Students - 03/03/1984 - 15:44

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                                                                    10 106 A - Ti, Do & Students - 03/11/1984 - 01:09:55

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  Heaven's Gate Audio Tapes - 914 Hours of Original Class Audio Recordings
  by The "Heaven's Gate" Class

  Topics                                                     heaven's gate, Marshall Applewhite, cult, audio, class, instruction, tapes, class, initia-
                                                             tion, recruitment, heavens, heaven's, gate, marshall, applewhite, recordings
  Language                                                   English

  This is a backup of the audio recordings made by the Heavens Gate group of their class sessions.

  These files have been made available to me through an ex-member who goes by the name crlody. Here is their blog about The TELAH Foundation:
  https://crlody.wordpress.com/

  Here is a blog run by a different ex-member, who provides a different perspective and narrative of events: https://sawyerhg.wordpress.com/

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  xt=urn:btih:37abed844da6daace22ac41bbebe3585ceae5a28&dn=HeavensGateAudio.zip&tr=udp%3a%2f%2ftracker.openbittorrent.com%3a6969%2fannounce&tr=udp%
  3a%2f%2ftracker.opentrackr.org%3a1337%2fannounce

  Unzipped version with files renamed to work over BitTorrent:
  magnet:?xt=urn:btih:848aaed0813ab360ff7253e680856f0973d377a2&dn=Heaven%27s%20Gate%20Audio%20Tapes%20-
  %20914%20Hours%20of%20Original%20Class%20Audio%20Recordings&tr=udp%3a%2f%2ftracker.openbittorrent.com%3a6969%2fannounce&tr=udp%3a%2f%2ftrack
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12/5/22, 4:30 PM             Heaven's Gate Audio Tapes - 914 Hours of Original Class Audio Recordings : The "Heaven's Gate" Class : Free Download, Borro…
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                       EXHIBIT 11
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   crlody
   Exposing the TELAH Foundation's lies




   What Mark and Sarah King don’t want others to hear on the class’ audio tapes
   Posted on November 28, 2022 by crlody


   https://archive.org/details/HPM-HeavensGateAudio

   Check out tapes 331, 332 and 333. The Telah Foundation’s copyright of The Audiotape Library of Heaven’s Gate
   by Ti and Do was declared invalid in February of 1999.

   In the description of tapes 331 and 332 in the tape log the class states,

   “MRC & SRF Bitterness”

   and in tape 333 from the tape log,

   “MRC & SRF may not have been ready”

   Who do we believe, Mark and Sarah King or the class? You decide.


                         About crlody
                         a former student of Ti and Do
                         View all posts by crlody →




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   crlody




https://crlody.wordpress.com/2022/11/28/what-mark-and-sarah-king-dont-want-others-to-hear-on-the-class-audio-tapes/                          1/1
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                       EXHIBIT 12
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                                                                    2 036 A - Ti, Do & Students - 12/10/1982 - 13:11

                                                                    3 038 A - Ti, Do & Students - 12/21/1982 - 01:33:44

                                                                    4 058 A - Ti, Do & Students - 07/20/1983 - 15:12

                                                                    5 100 AB - Ti, Do & Students - 02/25/1984 - 01:10:51

                                                                    6 101 A - Ti, Do & Students - 02/27/1984 - 29:46

                                                                    7 102 AB - Ti, Do & Students - 03/03/1984 - 01:30:23

                                                                    8 103 C - Ti, Do & Students - 03/03/1984 - 15:44

                                                                    9 105 A - Ti, Do & Students - 03/09/1984 - 31:20
                                                                    10 106 A - Ti, Do & Students - 03/11/1984 - 01:09:55

                                                                    11 107 A - Ti, Do & Students - 03/18/1984 - 12:43

                                                                    12 108 AB - Ti, Do & Students - 03/29/1984 - 01:22:50

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  Heaven's Gate Audio Tapes - 914 Hours of Original Class Audio Recordings
  by The "Heaven's Gate" Class

  Topics                                                     heaven's gate, Marshall Applewhite, cult, audio, class, instruction, tapes, class, initia-
                                                             tion, recruitment, heavens, heaven's, gate, marshall, applewhite, recordings
  Language                                                   English

  This is a backup of the audio recordings made by the Heavens Gate group of their class sessions.

  These files have been made available to me through an ex-member who goes by the name crlody. Here is their blog about The TELAH Foundation:
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  3a%2f%2ftracker.opentrackr.org%3a1337%2fannounce

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  %20914%20Hours%20of%20Original%20Class%20Audio%20Recordings&tr=udp%3a%2f%2ftracker.openbittorrent.com%3a6969%2fannounce&tr=udp%3a%2f%2ftrack
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  Identifier                                                 HPM-HeavensGateAudio
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                       EXHIBIT 13
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                              HALE-BOPP Brings Closure to:




        Whether Hale-Bopp has a "companion" or not is irrelevant from our perspective. However,
        its arrival is joyously very significant to us at "Heaven's Gate." The joy is that our Older
        Member in the Evolutionary Level Above Human (the "Kingdom of Heaven") has made it
        clear to us that Hale-Bopp's approach is the "marker" we've been waiting for -- the time for
        the arrival of the spacecraft from the Level Above Human to take us home to "Their World" -
        - in the literal Heavens. Our 22 years of classroom here on planet Earth is finally coming to
        conclusion -- "graduation" from the Human Evolutionary Level. We are happily prepared to
        leave "this world" and go with Ti's crew.

        If you study the material on this website you will hopefully understand our joy and what our
        purpose here on Earth has been. You may even find your "boarding pass" to leave with us
        during this brief "window."

        We are so very thankful that we have been recipients of this opportunity to prepare for
        membership in Their Kingdom, and to experience Their boundless Caring and Nurturing.


                    Keys or Bookmarks to Vital Information
                               on Our Website
                    Do's Intro: Our Purpose -- The Simple Bottom Line (an excerpt
                    from our book HEAVEN'S GATE -- see below)
https://www.heavensgate.com                                                                             1/3
1/19/23, 10:29 AM                               Heaven's Gate - How and When It May Be Entered
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                    Overview of Present Mission (excerpt from our book, a student paper)
                    Last Chance To Advance Beyond Human (excerpt from our book)
                    To Access Our Book Online in its Entirety:
                    How and When HEAVEN'S GATE May Be Entered

                    Transcripts of Two Recent Videos
                    Our Position Against Suicide
                    How a Member of the Kingdom of Heaven Might Appear
                    Earth Exit Statements by Students
                    Exit Press Release:
                    "Away Team" Returns to Level Above Human


       To Order a Hard Copy of Our Book
  The following materials are available through TELAH Services:
  One of our correspondents from Germany offered to translate the following two transcripts into
  German.

         Videotape 1: Last Chance To Evacuate Earth Before It's Recycled
         (Sept. 29, 1996 - 70 min.)
         Transcript of videotape 1. ...... German translation
         Videotape 2: Planet Earth About To Be Recycled -- Your Only Chance
         To Survive -- Leave With Us (Oct. 5, 1996 - 58 min.)
         Transcript of videotape 2. ...... German translation
         Our Book, entitled How and When "Heaven's Gate" May Be Entered
         (An Anthology of Our Materials).

  If you would like to send for videotapes, there is no charge. If you would like to copy them and return the
  originals to us, we will make them available to someone else. If you choose to assist with deferring our
  expenses, those funds would be reinvested towards getting this information out.
https://www.heavensgate.com                                                                                     2/3
1/19/23, 10:29 AM                                                                      Heaven's Gate - How and When It May Be Entered
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  downloaded or requested through TELAH Services.

  Hard copy editions of the book may be ordered through TELAH
  Services for $45 US. This includes shipping and handling, via
  priority mail.


  Requests For Materials Can Be Emailed To:
  rep@heavensgate.com

  Or Sent Via Postal Service To:

                                                                            TELAH Services
                                                                   4757 E. Greenway Rd. Ste. 103-178
                                                                           Phoenix, AZ 85032

        | To Access Our Online Book How and When HEAVEN'S GATE May Be Entered |
              | Do's Intro: Purpose - Belief | Statement by an E.T. Presently Incarnate |
                  | Last Chance To Evacuate Earth | Planet About To Be Recycled |
             | Overview of Present Mission | Last Chance To Advance Beyond Human |
    | Our Position Against Suicide | How a Member of the Kingdom of Heaven Might Appear |
                                | Connecting Links | Privacy Concerns |
                             | Back to Bookmarks | Top of this Homepage |
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  Angels, Antichrist, Apocalypse, Armageddon, Ascension, Atheist, Awakening, Away Team, Beyond Human, Blasphemy, Boddhisattva, Book of Revelation, Buddha, Channeling,
  Children of God, Christ, Christ's Teachings, Consciousness, Contactees, Corruption, Creation, Death, Discarnate, Discarnates, Disciple, Disciples, Disinformation, Dying, Ecumenical,
  End of the Age, End of the World, Eternal Life, Eunuch, Evolution, Evolutionary, Extraterrestrial, Freedom, Fulfilling Prophecy, Genderless, Glorified Body, God, God's Children,
  God's Chosen, God's Heaven, God's Laws, God's Son, Guru, Harvest Time, He's Back, Heaven, Heaven's Gate, Heavenly Kingdom, Higher Consciousness, His Church, Human
  Metamorphosis, Human Spirit, Implant, Incarnation, Interfaith, Jesus, Jesus' Return, Jesus' Teaching, Kingdom of God, Kingdom of Heaven, Krishna Consciousness, Lamb of God,
  Last Days, Level Above Human, Life After Death, Luciferian, Luciferians, Meditation, Members of the Next Level, Messiah, Metamorphosis, Metaphysical, Millennium,
  Misinformation, Mothership, Mystic, Next Level, Non Perishable, Non Temporal, Older Member, Our Lords Return, Out of Body Experience, Overcomers, Overcoming, Past Lives,
  Prophecy, Prophecy Fulfillment, Rapture, Reactive Mind, Recycling the Planet, Reincarnation, Religion, Resurrection, Revelations, Saved, Second Coming, Soul, Space Alien,
  Spacecraft, Spirit, Spirit Filled, Spirit Guide, Spiritual, Spiritual Awakening, Star People, Super Natural, Telepathy, The Remnant, The Two, Theosophy, Ti and Do, Truth, Two
  Witnesses, UFO, Virginity, Walk-ins, Yahweh, Yeshua, Yoda, Yoga,




https://www.heavensgate.com                                                                                                                                                                                   3/3
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                       EXHIBIT 14
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                              HALE-BOPP Brings Closure to:




        Whether Hale-Bopp has a "companion" or not is irrelevant from our perspective. However,
        its arrival is joyously very significant to us at "Heaven's Gate." The joy is that our Older
        Member in the Evolutionary Level Above Human (the "Kingdom of Heaven") has made it
        clear to us that Hale-Bopp's approach is the "marker" we've been waiting for -- the time for
        the arrival of the spacecraft from the Level Above Human to take us home to "Their World" -
        - in the literal Heavens. Our 22 years of classroom here on planet Earth is finally coming to
        conclusion -- "graduation" from the Human Evolutionary Level. We are happily prepared to
        leave "this world" and go with Ti's crew.

        If you study the material on this website you will hopefully understand our joy and what our
        purpose here on Earth has been. You may even find your "boarding pass" to leave with us
        during this brief "window."

        We are so very thankful that we have been recipients of this opportunity to prepare for
        membership in Their Kingdom, and to experience Their boundless Caring and Nurturing.



                    Keys or Bookmarks to Vital Information
                               on Our Website
                     Do's Intro: Our Purpose -- The Simple Bottom Line (an excerpt
https://heavensgatealso.com                                                                             1/3
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                     Statement by an E.T. Presently Incarnate (excerpt from our book)
                     Overview of Present Mission (excerpt from our book, a student paper)
                     Last Chance To Advance Beyond Human (excerpt from our book)
                     To Access Our Book Online in its Entirety:
                     How and When HEAVEN'S GATE May Be Entered

                     Transcripts of Two Recent Videos
                     Our Position Against Suicide
                     How a Member of the Kingdom of Heaven Might Appear
                     Earth Exit Statements by Students
                     Exit Press Release:
                     "Away Team" Returns to Level Above Human


       To Order a Hard Copy of Our Book
  The following materials are available through TELAH Services:
  One of our correspondents from Germany offered to translate the following two transcripts into
  German.

          Videotape 1: Last Chance To Evacuate Earth Before It's Recycled
          (Sept. 29, 1996 - 70 min.)
          Transcript of videotape 1. ...... German translation
          Videotape 2: Planet Earth About To Be Recycled -- Your Only Chance
          To Survive -- Leave With Us (Oct. 5, 1996 - 58 min.)
          Transcript of videotape 2. ...... German translation
          Our Book, entitled How and When "Heaven's Gate" May Be Entered
          (An Anthology of Our Materials).

https://heavensgatealso.com                                                                        2/3
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  If you would like to send for videotapes, there is no charge. If you would like to copy them and return the
  originals to us, we will make them available to someone else. If you
  choose to assist with deferring our expenses, those funds would be
  reinvested towards getting this information out.

  The transcripts of videotapes 1 and 2 can be viewed online,
  downloaded or requested through TELAH Services.

  Hard copy editions of the book may be ordered through TELAH
  Services for $45 US. This includes shipping and handling, via
  priority mail.


  Requests For Materials Can Be Emailed To: rep@heavensgatealso.com

  Or Sent Via Postal Service To:

                                                                            TELAH Services
                                                                   4757 E. Greenway Rd. Ste. 103-178
                                                                           Phoenix, AZ 85032

        | To Access Our Online Book How and When HEAVEN'S GATE May Be Entered |
              | Do's Intro: Purpose - Belief | Statement by an E.T. Presently Incarnate |
                  | Last Chance To Evacuate Earth | Planet About To Be Recycled |
             | Overview of Present Mission | Last Chance To Advance Beyond Human |
    | Our Position Against Suicide | How a Member of the Kingdom of Heaven Might Appear |
                                | Connecting Links | Privacy Concerns |
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  Children of God, Christ, Christ's Teachings, Consciousness, Contactees, Corruption, Creation, Death, Discarnate, Discarnates, Disciple, Disciples, Disinformation, Dying, Ecumenical,
  End of the Age, End of the World, Eternal Life, Eunuch, Evolution, Evolutionary, Extraterrestrial, Freedom, Fulfilling Prophecy, Genderless, Glorified Body, God, God's Children,
  God's Chosen, God's Heaven, God's Laws, God's Son, Guru, Harvest Time, He's Back, Heaven, Heaven's Gate, Heavenly Kingdom, Higher Consciousness, His Church, Human
  Metamorphosis, Human Spirit, Implant, Incarnation, Interfaith, Jesus, Jesus' Return, Jesus' Teaching, Kingdom of God, Kingdom of Heaven, Krishna Consciousness, Lamb of God,
  Last Days, Level Above Human, Life After Death, Luciferian, Luciferians, Meditation, Members of the Next Level, Messiah, Metamorphosis, Metaphysical, Millennium,
  Misinformation, Mothership, Mystic, Next Level, Non Perishable, Non Temporal, Older Member, Our Lords Return, Out of Body Experience, Overcomers, Overcoming, Past Lives,
  Prophecy, Prophecy Fulfillment, Rapture, Reactive Mind, Recycling the Planet, Reincarnation, Religion, Resurrection, Revelations, Saved, Second Coming, Soul, Space Alien,
  Spacecraft, Spirit, Spirit Filled, Spirit Guide, Spiritual, Spiritual Awakening, Star People, Super Natural, Telepathy, The Remnant, The Two, Theosophy, Ti and Do, Truth, Two
  Witnesses, UFO, Virginity, Walk-ins, Yahweh, Yeshua, Yoda, Yoga,




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                       EXHIBIT 17
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   crlody
   Exposing the TELAH Foundation's lies




   Instead of creating an “archive” of the class’ materials as a Court ordered them to do in 1999
   the TELAH Foundation sued those of who did create one in 2021
   Posted on January 15, 2023 by crlody


   Thanks to an amazing correspondent who created this archive of the class’ audio tapes,

   https://archive.org/details/HPM-HeavensGateAudio

   It is incomplete due to Mark and Sarah King withholding over one hundred of the tapes and because of the
   fraudulent DMCA notices that the King’s used their Foundation’s lawyers to enforce. Hopefully a complete archive
   can be created soon and ALL of the class’ property can be placed in the public domain where it will be accessible to
   any and all who are interested in hearing what Ti, Do and the class had to say.

   An “archive” that only gets licensed to HBOMAX and ABC and access is denied to numerous others isn’t an
   archive. An archive that is controlled by a Religious Nonprofit Corporation that fraudulently enforces invalid
   copyrights registrations in order to deny access to the archive isn’t an archive. In over twenty-three years Mark
   and Sarah King have done nothing to create an accessible archive of the class’ materials. And now that others of us
   finally got a hold of many of the class’ tapes and created an archive the Kings used their Religious Nonprofit
   Corporation to file a lawsuit based on previously invalidated copyright registrations.

   The same Judge who invalidated ALL of the Telah Foundation’s 1997 copyrights also ordered Mark and Sarah
   King to,

   “The TELAH FOUNDATION agrees to protect, safeguard,
   archive and control all items received in this agreement and not
   sell them”.

   No “archive” other than those that RKK ( the CD-ROMs ), myself, a correspondent and others online have created.
   Instead of thanking me and others for doing a task that he is too lazy and incompetent to do Mark King chose to
   try to ruin my life with a lawsuit based on copyright registrations that the Kings have known were invalid since
   1999. That’s right, rather than letting the class’ audio tapes be freely available the Kings chose to use their
   Religious Nonprofit Foundation to sue three of us in a Federal Court by hiring expensive I.P. lawyers from a large
   Corporate law firm. The Kings used their Corporate lawyers to try to hide the fact that all of the Foundation’s
   registered copyrights have been invalid since February of 1999. All for one purpose only, to get revenge on those of
   us who tried to make Ti and Do’s information FREELY available to any and all who are interested in it. Mark and
   Sarah King would prefer to make a Federal case out of all of this rather than simply stepping aside and letting
   those of us who are willing and able, to do as the class asked and “disseminate” their information.

   The King’s lawsuit is about one thing only; Mark and Sarah King’s deceptiveness and vindictiveness. They have
   abused their Religious Nonprofit Corporation from day one when they filed fraudulent copyright registrations.

https://crlody.wordpress.com/2023/01/15/instead-of-creating-an-archive-of-the-class-materials-as-a-court-ordered-them-to-do-in-1999-the-telah-founda…    1/2
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   religion, all that they have done is hide behind their Corporation while hiring lawyers to persecute those who dare
   to defy them. Such a disgusting abuse of a Nonprofit Corporation’s tax-exempt status.


                         About crlody
                         a former student of Ti and Do
                         View all posts by crlody →




   This entry was posted in Uncategorized. Bookmark the permalink.




   crlody




https://crlody.wordpress.com/2023/01/15/instead-of-creating-an-archive-of-the-class-materials-as-a-court-ordered-them-to-do-in-1999-the-telah-founda…     2/2
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                                                         4 058 A - Ti, Do & Students - 07/20/1983 - 15:12

                                                         5 100 AB - Ti, Do & Students - 02/25/1984 - 01:10:51

                                                         6 101 A - Ti, Do & Students - 02/27/1984 - 29:46

                                                         7 102 AB - Ti, Do & Students - 03/03/1984 - 01:30:23

                                                         8 103 C - Ti, Do & Students - 03/03/1984 - 15:44

                                                         9 105 A - Ti, Do & Students - 03/09/1984 - 31:20
                                                         10 106 A - Ti, Do & Students - 03/11/1984 - 01:09:55

                                                         11 107 A - Ti, Do & Students - 03/18/1984 - 12:43

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                                                         13 109 A - Ti, Do & Students - 03/31/1984 - 45:31

                                                         14 110 A - Ti, Do & Students - 04/02/1984 - 30:13

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   Heaven's Gate Audio Tapes - 914 Hours of Original
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   by The "Heaven's Gate" Class



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   Language                     English

   This is a backup of the audio recordings made by the Heavens Gate group of their class sessions.

   These files have been made available to me through an ex-member who goes by the name crlody. Here is
   their blog about The TELAH Foundation: https://crlody.wordpress.com/

   Here is a blog run by a different ex-member, who provides a different perspective and narrative of events:
   https://sawyerhg.wordpress.com/

   Bulk downloads will not work because the zip file would be too large for Internet Archive to process.

   Please use the magnet links below to download all of the files in bulk.



   Magnet links:
   Zipped version with original filenames:
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   🗩 Reviews                                                                                                           🗖 Add Review

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          SHOW ALL                                                                                                              2188 Files

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          IN COLLECTIONS




          Community Audio




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          on June 1, 2022




                                                   SIMILAR ITEMS (based on metadata) ▶




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                       EXHIBIT 19
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   crlody
   Exposing the TELAH Foundation's lies




   Thanks to all who have tried to disseminate the class’ information
   Posted on January 16, 2023 by crlody


   I know that numerous individuals have tried to make the class’ information, notably the audio tapes, available
   over the years. Some have had the class’ videos and audio tapes removed from online sources due to the Telah
   Foundation and their lawyers. I know that the Beyond Human tapes were removed from one of xf’s web pages
   many years ago and that’s just one story. More recently the Kings have shut down online archives of the class’
   audio tapes. There are many, many stories of Mark and Sarah King interfering with those who have tried to do as
   the class asked and “disseminate” their information. Thanks to one and all for trying to stand up to the cowardly
   and bullying tactics of Mark and Sarah King as they hide behind their lawyers and their Religious Nonprofit
   Foundation. Hopefully their reign of intimidation and vindictiveness can be put to an end sooner rather than
   later. Hopefully they will no longer be able to use and abuse their Religious Nonprofit Corporation for their
   personal vendettas. Hopefully the days of the Telah Foundation are numbered as the Kings have appropriated the
   name “TELAH” from the class in order to form a Corporation to fraudulently claim ownership of all of the class’
   property. I think that it is safe to say that Mark and Sarah King have misapplied the tasks that were offered to
   them and have abused the name TELAH for their own selfish purposes.


                         About crlody
                         a former student of Ti and Do
                         View all posts by crlody →




   This entry was posted in Uncategorized. Bookmark the permalink.




   2 Responses to Thanks to all who have tried to disseminate the class’ information

             Someone says:
             January 16, 2023 at 4:08 pm


             I find the King’s behaviour completely bizarre. If they believe in the material they have then why aren’t they openly sharing it
             ? That’s what anyone would do if you had that kind of highly information to hand surely?
             The only two explanations I can think of are
             – 1. They believe it but want to selfishly preserve next level information to themselves or
             2. They don’t believe it (maybe never did?) and they see it as some sort of cash cow (which I very much doubt it is, especially
             after all this time).
             Either way I applaud those who continue to share what they can despite the deluded threats they are facing.
             Reply




                          crlody says:
                          January 16, 2023 at 5:56 pm




https://crlody.wordpress.com/2023/01/16/thanks-to-all-who-have-tried-to-disseminate-the-class-information/                                      1/2
1/19/23, 11:37 AM                                      Thanks to all who have tried to disseminate the class’ information | crlody
            USDC
            USDCIN/ND
                 IN/ND
                   I agreecase
                           case  3:22-cv-00395-MGG
                                  3:22-cv-00395-MGG
                           that their                          document
                                                                document
                                      behavior really doesn’t make          119-1
                                                                             67-1
                                                                   much sense.       filed
                                                                                      filedtheory
                                                                               My personal  01/23/23
                                                                                            06/29/23       page
                                                                                                            page
                                                                                                  is that they     68
                                                                                                                    68of
                                                                                                               initially of129
                                                                                                                             129 with
                                                                                                                         colluded
                        the high-priced entertainment lawyer in 1997 because they did believe that it was a “cash cow”. I believe that as it
                        became apparent that there wasn’t really any $ in it their primary motivations became a sort of bitterness/self-
                        righteousness. Interestingly, when they were asked to leave the class they were apparently quite “bitter” ( as per at
                        least one of the audio tapes ) and RKK had told me that the Kings were at least partly bitter for financial reasons.
                        Apparently SRF had brought a trust fund into the class in the mid-70s and when they got kicked out they felt that
                        they were put into a bad financial situation. Do discusses their “bitterness” over finances on one of the tapes as
                        well. In 1997 they seem to have decided that RKK and I were “interfering” with their supposed “task” and when
                        they lost their Court case with San Diego County they somehow thought that it was our fault rather than their own.
                        When I offered to pay for the copying costs of the audio tapes back in 1998 Mark told me that I had to “apologize”
                        to him and his wife because somehow it was my and RKK’s fault that they were stupid enough to spend so much
                        money on lawyers.

                        So, in a “sense” their behavior does make sense in that they are staying the course of their bitterness and self-
                        righteousness and they seem to have no desire to take any responsibility for anything that they’ve done, it’s always
                        conveniently someone else’s fault. They have even concocted a new false history in which somehow “rumors”
                        started by “classmates” are why they were asked to leave the class. Even though the audio tapes and Sawyer
                        contradict their story. And maybe that’s as much of a reason as any as to why they keep suppressing the tapes,
                        there’s stuff on there that contradicts their twenty-five years worth of deceptions.
                        Reply




   crlody




https://crlody.wordpress.com/2023/01/16/thanks-to-all-who-have-tried-to-disseminate-the-class-information/                                      2/2
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                           EXHIBIT B
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                                                                   06/29/23 page
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                                                                                      129
     Fill in this information to identify your case:


     United States Bankruptcy Court for the :

     _____NORTHERN_____ District of _ INDIANA__
                                              (State)


     Case Number (If known): __________________________ Chapter you are filing under:
                                                                          Chapter 7
                                                                          Chapter 11
                                                                          Chapter 12                                                        Check if this is an
                                                                          Chapter 13                                                        amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                            06/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

  Part 1:       Identify Yourself


                                             About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.      Your full name

        Write the name that is on your       Cathy
                                             ______________________________________________                    ______________________________________________
        government-issued picture            First name                                                        First name
        identification (for example,
        your driver’s license or             Jo Ann
                                             ______________________________________________                    ______________________________________________
        passport).                           Middle name                                                       Middle name

                                             Weaver
                                             ______________________________________________                    ______________________________________________
        Bring your picture                   Last name                                                         Last name
        identification to your meeting
        with the trustee.                    ______________________                                            ______________________
                                             Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)



2.      All other names you                   Cathy
                                             ______________________________________________                    ______________________________________________
        have used in the last 8              First name                                                        First name
        years                                Joann
                                             ______________________________________________                    ______________________________________________
                                             Middle name                                                       Middle name
        Include your married or
        maiden names.                        Weaver
                                             ______________________________________________                    ______________________________________________
                                             Last name                                                         Last name


                                             ______________________________________________                    ______________________________________________
                                             First name                                                        First name

                                             ______________________________________________                    ______________________________________________
                                             Middle name                                                       Middle name

                                             ______________________________________________                    ______________________________________________
                                             Last name                                                         Last name



3.      Only the last 4 digits of
                                                         6960
                                             XXX - XX - ________________                                       XXX - XX - ________________
        your Social Security
        number or federal
        Individual Taxpayer                  OR                                                                OR
        Identification number
        (ITIN)
                                             9XX - XX - ____ ____ ____ ____                                    9XX - XX - ____ ____ ____ ____

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Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                             Case Number (if known) ______________________________
            First Name                 Middle Name                    Last Name



                                         About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                              I have not used any business names or EINs.                         I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in             ______________________________________________                      ______________________________________________
      the last 8 years                   Business name                                                       Business name

                                         ______________________________________________                      ______________________________________________
      Include trade names and            Business name                                                       Business name
      doing business as names
                                         ___ ___ - ___ ___ ___ ___ ___ ___ ___                               ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                                 EIN

                                         ___ ___ - ___ ___ ___ ___ ___ ___ ___                               ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                                 EIN




5.    Where you live                                                                                         If Debtor 2 lives at a different address:


                                                               _____________________________                 ______________________________________________
                                         Number       Street                                                 Number    Street

                                         ______________________________________________                      ______________________________________________


                                                          _________________          _____                   ______________________________________________
                                         City                                     State      ZIP Code        City                           State     ZIP Code

                                         ST. JOSEPH
                                         ______________________________________________                      ______________________________________________
                                         County                                                              County



                                         If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                         above, fill it in here. Note that the court will send               the one above, fill it in here. Note that the court
                                         any notices to you at this mailing address.                         will send any notices this mailing address.


                                         ______________________________________________                      ______________________________________________
                                         Number    Street                                                    Number    Street

                                         ______________________________________________                      ______________________________________________
                                         P.O. Box                                                            P.O. Box

                                         ______________________________________________                      ______________________________________________
                                         City                           State     ZIP Code                   City                           State     ZIP Code




6.    Why you are choosing                Check one:                                                         Check one:
      this district to file for
      bankruptcy.                            Over the last 180 days before filing this petition,               Over the last 180 days before filing this petition,
                                             I have lived in this district longer than in any                  I have lived in this district longer than in any
                                             other district.                                                   other district.

                                             I have another reason. Explain.                                   I have another reason. Explain.
                                             (See 28 U.S.C. § 1408                                             (See 28 U.S.C. § 1408


                                          ______________________________________________                     ______________________________________________

                                          ______________________________________________                     ______________________________________________

                                          ______________________________________________                     ______________________________________________

                                          ______________________________________________                     ______________________________________________




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Debtor 1     Cathy                     Jo Ann                    Weaver
             __________________________________________________________________                               Case Number (if known) ______________________________
             First Name                  Middle Name                    Last Name




  Part 2:        Tell the Court About Your Bankruptcy Case



7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
      Bankruptcy Code you                   Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                       Chapter 7
      under
                                                 Chapter 11

                                                 Chapter 12

                                                 Chapter 13


8.    How you will pay the fee                   I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                                 I need to pay the fee in installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the official poverty line that applies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                         No
      bankruptcy within the
      last 8 years?                              Yes.            None
                                                        District ___________________________ When _________________ Case Number ________________________
                                                                                                         MM / DD / YYYY


                                                                 None
                                                        District ___________________________ When _________________ Case Number ________________________
                                                                                                         MM / DD / YYYY


                                                        District ___________________________ When _________________ Case Number ________________________
                                                                                                         MM / DD / YYYY




10.   Are any bankruptcy                         No
      cases pending or being
      filed by a spouse who is                   Yes.   Debtor __________________________________________________ Relationship to you _____________________
      not filing this case with                         District ___________________________ When _________________ Case Number, if known ________________
      you, or by a business                                                                              MM / DD / YYYY
      parter, or by
      affiliate?
                                                        Debtor __________________________________________________ Relationship to you _____________________
                                                        District ___________________________ When _________________ Case Number, if known ________________
                                                                                                         MM / DD / YYYY




11.   Do you rent your                           No.    Go to line 12
      residence?                                 Yes.   Has your landlord obtained an eviction judgment against you?



                                                              No. Go to line 12.
                                                              Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                              this bankruptcy petition.




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Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                                  Case Number (if known) ______________________________
            First Name                    Middle Name                    Last Name




 Part 3:        Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                   No.    Go to Part 4.
      of any full- or part-time                   Yes.   Name and location of business
      business?
      A sole proprietorship is a                         _______________________________________________________________________________________
      business you operate as an                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnerhsip, or                     _______________________________________________________________________________________
      LLC.                                               Number      Street
      If you have more than one
      sole proprietorship, use a                         _______________________________________________________________________________________
      separate sheed and attach it
      to this petition.
                                                         _________________________________________________               ______      ________________________
                                                         City                                                                        State      Zip Code


                                                         Check the appropriate box to describe your business:

                                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                                None of the above


13.   Are you filing under                   If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
      Chapter 11 of the                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
                                             are a small business debtor or you are choosing to proceed under Subchapter V,, you must attach your
      Bankruptcy Code and
                                             most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business               if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
      defined by 11 U.S.C. §                      No. I am not filing under Chapter 11.
      1182(1)?
      For a definition of small                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      business debtor, see                            the Bankruptcy Code.
      11 U.S.C. § 101(51D).
                                                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the            Bankruptcy
                                                         Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11




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Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                             Case Number (if known) ______________________________
            First Name                  Middle Name                  Last Name




 Part 4:        Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    No.
      property that poses or is
                                                Yes. What is the hazard?         _________________________________________________________________
      alleged to pose a threat
      of imminent and
      indentifiable hazard to                                                    _________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                      If immediate attention is needed, why is it needed? _________________________________________
      immediate attention?

      For example, do you own                                                    _________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                      Where is the property? _______________________________________________________________
                                                                                  Number      Street



                                                                                  _______________________________________________________________

                                                                                  ____________________________________ ______        _______________
                                                                                  City                                            State     ZIP Code




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Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                                  Case Number (if known) ______________________________
            First Name                    Middle Name                    Last Name




 Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling


                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a                    You must check one:                                                  You must check one:
      briefing about credit
      counseling.                                I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                         certificate of completion.
      counseling before you file for
      bankruptcy. You must                       Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
      truthfully check one of the                plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
      following choices. If you
      cannot do so, you are not                  I received a briefing from an approved credit                      I received a briefing from an approved credit
      eligible to file.                          counseling agency within the 180 days before I                     counseling agency within the 180 days before I
                                                 filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
      If you file anyway, the court              certificate of completion.                                         certificate of completion.
      can dismiss your case, you
      will lose whatever filing fee              Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      you paid, and your creditors               you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      can begin collection activities            plan, if any.                                                       plan, if any.
      again.
                                                 I certify that I asked for credit counseling                       I certify that I asked for credit counseling
                                                 services from an approved agency, but was                          services from an approved agency, but was
                                                 unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                 days after I made my request, and exigent                          days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                of the requirement.

                                                 To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                     required you to file this case.

                                                 Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after      you file.        still receive a briefing within 30 days after      you file.
                                                 You must file a certificate from the          approved              You must file a certificate from the          approved
                                                 agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                   may be dismissed.
                                                 Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                 days.                                                               days.

                                                 I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                 credit counseling because of:                                      credit counseling because of:

                                                    Incapacity.   I have a mental illness or a mental                  Incapacity.    I have a mental illness or a mental
                                                                    deficiency that makes me                                            deficiency that makes me
                                                                    incapable of realizing or making                                    incapable of realizing or making
                                                                    rational decisions about finances.                                  rational decisions about finances.

                                                    Disability.   My physical disability causes me                     Disability.    My physical disability causes me
                                                                   to be unable to participate in a                                    to be unable to participate in a
                                                                   briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                   through the internet, even after I                                  through the internet, even after I
                                                                   reasonably tried to do so.                                          reasonably tried to do so.

                                                    Active duty. I am currently on active military                     Active duty. I am currently on active military
                                                                    duty in a military combat zone.                                    duty in a military combat zone.

                                                 If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                                Case Number (if known) ______________________________
            First Name                 Middle Name                     Last Name




 Part 6:        Answer These Questions for Reporting Purposes


                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                   as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                     No. Go to line 16b.
                                                     Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.

                                                     No. Go to line 16c.
                                                     Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.

                                                 ________________________________________________________________

17.   Are you filing under
                                                 No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
                                                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      Do you estimate that after                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                         No.
      administrative expenses
                                                           Yes.
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                      1-49                                    1,000-5,000                                     25,001-50,000
      you estimate that you                      50-99                                   5,001-10,000                                    50,001-100,000
      owe?                                       100-199                                 10,001-25,000                                   More than 100,000
                                                 200-999

19.   How much do you                            $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your assets to                    $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      be worth?                                  $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                 $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

20.   How much do you                            $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your liabilities                  $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      to be?                                     $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                 $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

 Part 7:        Sign Below


                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.

                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.

                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                          û /s/ Cathy Jo Ann Weaver
                                                 ________________________________________
                                                 Signature of Debtor 1
                                                                                                                 û     ______________________________________
                                                                                                                       Signature of Debtor 2


                                                              10/25/2022
                                                 Executed on _________________                                         Executed on _________________
                                                                MM / DD / YYYY                                                        MM / DD / YYYY

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                           3:22-cv-00395-MGG document
                                              document119-1
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                                                                                     129
Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                                Case Number (if known) ______________________________
            First Name                 Middle Name                  Last Name




                                       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are          to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                       the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented             knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                          û /s/ John Madison Sadler
                                           ________________________________________
                                           Signature of Attorney for Debtor
                                                                                                                  Date
                                                                                                                               Date: 10/25/2022
                                                                                                                              _______________________
                                                                                                                              MM / DD / YYYY



                                                John Madison Sadler
                                           _______________________________________________________________________________
                                           Printed name

                                               Geraci Law L.L.C.
                                           _______________________________________________________________________________
                                           Firm name

                                               55 E. Monroe St., #3400
                                           _______________________________________________________________________________
                                           Number Street

                                           _______________________________________________________________________________


                                                 Chicago
                                           _____________________________________________
                                                                                                                 IL              60603
                                                                                                        __________ ____________________
                                           City                                                                State        ZIP Code



                                                           312-332-1800
                                           Contact Phone ________________________________                                         mer@geracilaw.com
                                                                                                                  Email address ___________________



                                                 29743-49                                                             IN
                                           ______________________________________________                         ___________
                                           Bar number                                                             State




Official Form 101        Record #   889196             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                        Case 22-31102-pes Doc 1 Filed 10/27/22 Page 9 of 60
            USDC
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                       case3:22-cv-00395-MGG
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                                               document119-1
                                                        67-1 filed
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                                                                   06/29/23 page
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                                                                                 78of
                                                                                   of129
                                                                                      129
   Fill in this information to identify your case:


   Debtor 1                Cathy                     Jo Ann                    Weaver
                           __________________________________________________________________
                           First Name                     Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                     Middle Name                  Last Name


   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                       (State)
   Case Number ______________________________________________
    (If known)                                                                                                                                 Check if this is an
                                                                                                                                               amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


   Part 1:               Give Details About Your Marital Status and Where You Lived Before

 01. What is your current marital status?


           Married
            Not married


 02 During the last 3 years, have you lived anywhere other than where you live now?

            No.
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


              Debtor 1                                                           Dates Debtor 1       Debtor 2:                                   Dates Debtor 2
                                                                                 lived there                                                      lived there
                                                                                                        Same as Debtor 1                        Same as Debtor 1
             121 E 9th St
             ______________________________________                             FROM 2018 -           ______________________________________
             Newport, KY 41071
             ______________________________________                             To 06/2019            ______________________________________

             ______________________________________                                                   ______________________________________



 03 Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
     property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington,
     and Wisconsin.)
            No.
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2:               Explain the Sources of Your Income




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                      case3:22-cv-00395-MGG
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                                                       67-1 filed
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Debtor 1     Cathy                     Jo Ann                    Weaver
             __________________________________________________________________                             Case Number (if known) ______________________________
             First Name                   Middle Name                Last Name


 04   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income          Gross income
                                                         Check all that apply       (before deductions and         Check all that apply       (before deductions and
                                                                                    exclusions)                                               exclusions)

           From January 1 of current year until             Wages, commissions,       $20,000 approx.
                                                                                    ___________________               Wages, commissions,     ___________________
                                                            bonuses, tips                                             bonuses, tips
           the date you filed for bankruptcy:
                                                            Operating a business                                      Operating a business




           For last calendar year:                          Wages, commissions,       $16,161
                                                                                    ___________________               Wages, commissions,     ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2021)
                                                            Operating a business                                      Operating a business




           For the calendar year before that:               Wages, commissions,       $13,459
                                                                                    ___________________               Wages, commissions,     ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2020)
                                                            Operating a business                                      Operating a business




 05 Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income          Gross income
                                                         Describe below.            (before deductions and         Describe below.            (before deductions and
                                                                                    exclusions)                                               exclusions)

   Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy




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                                                                                     129
Debtor 1     Cathy                     Jo Ann                    Weaver
             __________________________________________________________________                                    Case Number (if known) ______________________________
              First Name                        Middle Name                 Last Name


 06   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?


             No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  “incurred by an individual primarily for a personal, family, or household purpose.”
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,5755* or more?


                           No. Go to line 7.


                           Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


             Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                           No. Go to line 7.


                           Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.



                                                                          Dates of          Total amount paid              Amount you still owe     Was this payment for...
                                                                          payments



                              ___________________________
                               Citizens Bank NA                          Monthly           ___________________
                                                                                             $1,611.00                 ___________________
                                                                                                                         See Schedule D                Mortgage
                              ___________________________
                               480 Jefferson Blvd                                                                                                      Car
                                                                                                                                                       Credit card
                              ___________________________
                               Warwick, RI 02886
                                                                                                                                                       Loan repayment
                              ___________________________
                                                                                                                                                       Suppliers or vendors
                                                                                                                                                       Other ____________




 07   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No.
           Yes. List all payments to an insider.
                                                                          Dates of          Total amount           Amount you still          Reason for this payment
                                                                          payment           paid                   owe


 08   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No.
           Yes. List all payments to an insider.
                                                                          Dates of          Total amount           Amount you still          Reason for this payment
                                                                          payment           paid                   owe                       Include creditor's name

   Part 4:        Identify Legal actions, Repossessions, and Foreclosures




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Debtor 1     Cathy                     Jo Ann                    Weaver
             __________________________________________________________________                                 Case Number (if known) ______________________________
              First Name                     Middle Name               Last Name


 09   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No.
           Yes. Fill in the details.
                                                              Nature of the case                   Court or agency                                      Status of the case
             _________________________________
              The Evolutionary Level Above Human,              Civil Copyright Infringement        United
                                                                                                   _________________________________
                                                                                                          States District Court, Northern                  Pending
             _________________________________
              Inc. dba The Telah Foundation v Havel                                                District
                                                                                                   _________________________________
                                                                                                            of Indiana                                     On appeal
             _________________________________
              et al                                                                                 _________________________________                      Concluded
             _________________________________
              22-CV-00395-MGG                                                                       _________________________________


 10   Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11
           Yes. Fill in the information below.


 11   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts
      or refuse to make a payment because you owed a debt?

           No. Go to line 11
           Yes. Fill in the information below.
 12 Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?
           No.
           Yes.


   Part 5:        List Certain Gifts and Contributions

 13   Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No.
           Yes. Fill in the details for each gift.
 14   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           No.
           Yes. Fill in the details for each gift.


   Part 6:        List Certain Losses


 15   Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
      gambling?

           No.
           Yes. Fill in the details for each gift.




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Debtor 1        Cathy                     Jo Ann                    Weaver
                __________________________________________________________________                                     Case Number (if known) ______________________________
                First Name                    Middle Name                   Last Name



      Part 7:       List Certain Payments or Transfers


 16     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No.
            Yes. Fill in the details

            Party Contact Info                                       Description and value of any property transferred                     Date payment     Amount of payment
                                                                                                                                           or transfer

                _________________________________
                 Geraci Law L.L.C.                                                                                                        From              $2,138.00
                                                                                                                                                            ___________________
                                                                                                                                          10/12/2022 -
                _________________________________
                 55 E. Monroe Street #3400
                                                                                                                                          10/25/2022
                _________________________________
                 Chicago, IL 60603
                _________________________________

                ______________________________________
                Person who Made the Payment, if Not You
            Party Contact Info                                       Description and value of any property transferred                     Date payment     Amount of payment
                                                                                                                                           or transfer
                                                                     Credit Counseling Services                                           2022              $25.00
                _________________________________
                 Hananwill Credit Counseling                                                                                                                ___________________
                _________________________________
                 115 N. Cross St.
                _________________________________
                 Robinson, IL 62454
                _________________________________

                ______________________________________
                Person who Made the Payment, if Not You


 17     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

            No.
            Yes. Fill in the details.


 18     Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.

            No.
            Yes. Fill in the details for each gift.

 19     Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)

            No.
            Yes. Fill in the details for each gift.


   Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


 20     Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.

            No.
            Yes. Fill in the details.
                                                            Last 4 digits of account number       Type of account or          Date account was       Last balance before
                                                                                                  instrument                  closed, sold, moved,   closing or transfer
                                                                                                                              or transferred




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                                                                                      129
Debtor 1        Cathy                     Jo Ann                    Weaver
                __________________________________________________________________                               Case Number (if known) ______________________________
                First Name                   Middle Name                     Last Name


 21     Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

            No.
            Yes. Fill in the details.
                                                           Who else had access to it?                Describe the contents                    Do you still
                                                                                                                                              have it?
 22     Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No.
            Yes. Fill in the details.
                                                           Who else has or had access to it?         Describe the contents                    Do you still
                                                                                                                                              have it?

      Part 9:       Identify Property You Hold or Control for Someone Else

 23     Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

            No.
            Yes. Fill in the details.
                                                           Where is the property?                    Describe the property                    Value



   Part 10:         Give Details About Environmental Information


 For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
       it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24     Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No.
            Yes. Fill in the details.
                                                           Governmental unit                         Environmental law, if you know it        Date of notice


 25     Have you notified any governmental unit of any release of hazardous material?

            No.
            Yes. Fill in the details.
                                                           Governmental unit                         Environmental law, if you know it        Date of notice


 26     Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Fill in the details.
                                                           Court or agency                           Nature of the case                       Status of the case



   Part 11:         Give Details About Your Business or Connections to Any Business


 27     Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation




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Debtor 1     Cathy                     Jo Ann                    Weaver
             __________________________________________________________________                                Case Number (if known) ______________________________
                First Name                 Middle Name                    Last Name




            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

           Cathy
           _____________________________
                 J. Weaver                                Describe the nature of the business                            Employer Identification number
           _____________________________                                                                                 Do not include Social Security number or
                                                          1099 independent contractor - ride share driver
           _____________________________                                                                                  EIN: ______________________________
           _____________________________
                                                         Name of accountant or bookkeeper                                Dates business existed
                                                          NA
                                                                                                                          08/2016 - present



 28    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

            No.
            Yes. Fill in the details.
                                                         Date issued

  Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      û     /s/ Cathy Jo Ann Weaver
            ________________________________________
            Signature of Debtor 1
                                                                               û      ______________________________________
                                                                                      Signature of Debtor 2


                  10/25/2022
            Date _________________                                                    Date _________________
                  MM / DD / YYYY                                                            MM / DD / YYYY


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No

           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No

           Yes. Name of person ___________________________________________________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).




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                        case3:22-cv-00395-MGG
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                                                document119-1
                                                         67-1 filed
                                                               filed01/23/23
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                                                                                    of129
                                                                                       129
   Fill in this information to identify your case:


    Debtor 1                Cathy                     Jo Ann                    Weaver
                            __________________________________________________________________
                            First Name                        Middle Name                             Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                        Middle Name                             Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                                (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                                                             Check if this is an
                                                                                                                                                                                           amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form . If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


  Part 1:                 Summarize Your Assets




                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own


 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B........................................................................................................
                                                                                                                                                                                                                 $0


      1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................
                                                                                                                                                                                                         $ 16,021


      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................                                    $ 16,021




  Part 2:                 Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                                          $22,036


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...............................................
                                                                                                                                                                                                                 $0
                                                                                                                                                                                                          $56,810
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...........................................



                                                                                                                                                                  Your total liabilities              $78,846.00



  Part 3:                 Summarize Your Liabilities



 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                                                        $1,978.18

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J ..................................................................................................
                                                                                                                                                                                                        $1,957.53




Official Form 106Sum                     Record # 889196          Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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           USDC
           USDC
            Cathy
                  IN/ND
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                         caseJo3:22-cv-00395-MGG
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                                Ann           Weaver
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                                                                                             129
Debtor 1      __________________________________________________________________                                Case Number (if known) ______________________________
              First Name                  Middle Name                     Last Name




 Part 4:          Answer These Questions for Administrative and Statistical Records


 6. Are you filing for bankruptcy under Chapter 7, 11 or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes



 7. What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose .” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules .




 8. From the Statement of Your Current Monthly Income : Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14 .                                                                                   $ 1,403.06




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                     Total claim

     From Part 4 of Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                  0.00
                                                                                                                   $______________________


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         0.00
                                                                                                                   $______________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               0.00
                                                                                                                   $______________________


    9d. Student loans. (Copy line 6f.)                                                                                14,200.00
                                                                                                                   $______________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                       0.00
                                                                                                                   $______________________
    priority claims. (Copy line 6g.)


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                            0.00
                                                                                                                   $______________________




    9g. Total. Add lines 9a through 9f.                                                                               14,200.00
                                                                                                                   $______________________




Official Form 106Sum           Record # 889196          Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2
                                Case 22-31102-pes Doc 1 Filed 10/27/22 Page 18 of 60
   Fill in this information to identify your case and this filing:
                     USDC
                     USDCIN/ND
                          IN/NDcase
                                case3:22-cv-00395-MGG
                                     3:22-cv-00395-MGG document
                                                        document119-1
                                                                 67-1 filed
                                                                       filed01/23/23
                                                                            06/29/23 page
                                                                                     page87
                                                                                          87of
                                                                                            of129
                                                                                               129
   Debtor 1                Cathy                     Jo Ann                    Weaver
                           __________________________________________________________________
                           First Name                      Middle Name                         Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                      Middle Name                         Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                               (State)
   Case Number ______________________________________________                                                                                                                               Check if this is an
    (If known)                                                                                                                                                                              amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                               12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

   Part 1:               Describe Each Residence, Building, Land, or Other Real Esate You Own or Have an Interest In

 01. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
               No.
               Yes.         Describe.....
 2. Add the dollar value of the portion you own for all of your entries fro Part 1, including any entries for pages
    you have attached for Part 1. Write that number here ............................................................................................................. -->                                           $0.00


   Part 2:               Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 03. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
               No.
               Yes.         Describe.....
                         Make:                          Chevrolet
                                                        ____________             Who has an interest in the property? Check one.                                   Do not deduct secured claims or exemptions. Put
                                                                                                                                                                   the amount of any secured claims on Schedule D:
                         Model:                         Malibu
                                                        ____________                 Debtor 1 only
                                                                                                                                                                   Creditors Who Have Claims Secured by Property
                                                                                     Debtor 2 only
                         Year:                          2019
                                                        ____________                                                                                              Current value of the         Current value of the
                                                                                     Debtor 1 and Debtor 2 only
                                                         125,000                                                                                                  entire property?             portion you own?
                         Approximate Mileage:           ____________
                                                                                     At least one of the debtors and another
                         Other information:                                                                                                                                  12,425.00
                                                                                                                                                                  $________________                        12,425.00
                                                                                                                                                                                               $________________
                                                                                       Check if this is community property (see
                         2019 Chevrolet Malibu with over 125,000
                                                                                       instructions)
                         miles



 04. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
               No.
               Yes.         Describe.....
 5. Add the dollar value of the portion you own for all of your entries fro Part 2, including any entries for pages
                                                                                                                                                                                                             $ 12,425.00
    you have attached for Part 2. Write that number here ................................................................................................ -->


   Part 3:               Describe Your Personal and Household Items


 Do you own or have any legal or equitable interest in any of the following items?                                                                                                        Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                                                          or exemptions
 06. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
               No.
               Yes.         Describe.....
                                              Furniture, linens, small appliances, table & chairs, bedroom set                                                                 $1,000
                                                                                                                                                                                                             1,000.00
                                                                                                                                                                                                       $____________




Official Form 106A/B                        Record #     889196                                 Schedule A/B: Property                                                                                        Page 1 of 6
                             Case 22-31102-pes Doc 1 Filed 10/27/22 Page 19 of 60
Debtor 1     Cathy                     Jo Ann                    Weaver
                                                                Case Number (if known) ______________________________
             __________________________________________________________________
                  USDC
                  USDCIN/ND
                       IN/NDcase
              First Name
                             case3:22-cv-00395-MGG
                                  3:22-cv-00395-MGG document
                                                     document119-1
                                                              67-1 filed
                                                      Middle Name
                                                                       filed01/23/23
                                                                                06/29/23 page    page88
                                                                                              Last Name
                                                                                                          88of of129
                                                                                                                  129
 07. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
       collections; electronic devices including cell phones, cameras, media players, games
             No.
             Yes.          Describe.....
                                              TV, laptop, printer, camera, cellphone                                                                                               $1,000
                                                                                                                                                                                                              1,000.00
                                                                                                                                                                                                        $____________
 08. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 09. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
       and kayaks; carpentry tools; musical instruments
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No.
             Yes.          Describe.....
                                              Everyday clothes, shoes, accessories                                                                                                 $150
                                                                                                                                                                                                                150.00
                                                                                                                                                                                                        $____________
 12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 13. Non-farm animals
       Examples: Dogs, cats, birds, horses
             No.
             Yes.          Describe.....
                                              A cat named "Evie"                                                                                                                    $0
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 14. Any other personal and household items you did not already list, including any health aids you did not list
             No.
             Yes.          Describe.....
                                              books, CDs, DVDs & Family Photos                                                                                                     $1,000
                                                                                                                                                                                                              1,000.00
                                                                                                                                                                                                        $____________
 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                 $3,150.00
     for Part 3. Write that number here .................................................................................................................................... -->


   Part 4:          Describe Your Financial Assets


 Do you own or have any legal or equitable interest in any of the following?                                                                                                                Current value of the
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                            or exemptions
 16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________




Official Form 106A/B                       Record #         889196                                        Schedule A/B: Property                                                                               Page 2 of 6
                         Case 22-31102-pes Doc 1 Filed 10/27/22 Page 20 of 60
Debtor 1   Cathy                     Jo Ann                    Weaver
                                                            Case Number (if known) ______________________________
           __________________________________________________________________
              USDC
              USDCIN/ND
                   IN/NDcase
           First Name
                         case3:22-cv-00395-MGG
                              3:22-cv-00395-MGG document
                                                 document119-1
                                              Middle Name
                                                          67-1 filed
                                                                   filed01/23/23
                                                                            06/29/23 page
                                                                             Last Name
                                                                                             page89   89of of129
                                                                                                              129
 17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
      and other similar institutions. If you have multiple accounts with the same institution, list each.
           No.
           Yes.         Describe.....   Account Type:                        Institution name:
                                        Other financial account                    Venmo                                                               0.00
                                                                                                                                             $____________
                                         Savings Account                           JPMorgan Chase Bank                                                 1.00
                                                                                                                                             $____________
                                         Checking Account                          Alhambra Credit Union                                              20.00
                                                                                                                                             $____________
                                         Checking Account                          JPMorgan Chase Bank                                               425.00
                                                                                                                                             $____________
                                                                                                                                                     446.00
                                                                                                                                             $____________
 18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No.
           Yes.         Describe.....   Institution or issuer name:
                                                                                                                                                       0.00
                                                                                                                                             $____________
 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
           No.
           Yes.         Describe.....   Name of Entity and Percent of Ownership:
                                                                                                                                                       0.00
                                                                                                                                             $____________
 20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No.
           Yes.         Describe.....   Issuer name:
                                                                                                                                                       0.00
                                                                                                                                             $____________
 21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No.
           Yes.         Describe.....   Type of account and Institution name:
                                                                                                                                                       0.00
                                                                                                                                             $____________
 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
           No.
           Yes.         Describe.....   Institution name or individual:
                                                                                                                                                       0.00
                                                                                                                                             $____________
 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No.
           Yes.         Describe.....   Issuer name and description:
                                                                                                                                                       0.00
                                                                                                                                             $____________
 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No.
           Yes.         Describe.....   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                                                                                                                                       0.00
                                                                                                                                             $____________
 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
           No.
           Yes.         Describe.....
                                                                                                                                                       0.00
                                                                                                                                             $____________
 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No.
           Yes.         Describe.....
                                                                                                                                                       0.00
                                                                                                                                             $____________
 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No.
           Yes.         Describe.....
                                                                                                                                                       0.00
                                                                                                                                             $____________




Official Form 106A/B                    Record #   889196                                Schedule A/B: Property                                   Page 3 of 6
                             Case 22-31102-pes Doc 1 Filed 10/27/22 Page 21 of 60
Debtor 1     Cathy                     Jo Ann                    Weaver
                                                                Case Number (if known) ______________________________
             __________________________________________________________________
                  USDC
                  USDCIN/ND
                       IN/NDcase
              First Name
                             case3:22-cv-00395-MGG
                                  3:22-cv-00395-MGG document
                                                     document119-1
                                                              67-1 filed
                                                      Middle Name
                                                                       filed01/23/23
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                                                                                              Last Name
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 Money or property owed to you?                                                                                                                                                     Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                    or exemptions


 28. Tax refunds owed to you
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
       Social Security benefits; unpaid loans you made to someone else
             No.
             Yes.          Describe.....
                                              Counter-claim against The Evolutionary Level Above Human, Inc. in case no. 22-CV-00395-MGG, filed
                                             in the Northern District of Indiana. No attorney retained.
                                                                                                                                                                                                $____________
                                                                                                                                                                                                     Unknown
 31. Interest in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
             No.                             Company Name & Beneficiary:
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________
 35. Any financial assets you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                         $446.00
     for Part 4. Write that number here ..................................................................................................................................... -->


   Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
             No.
             Yes.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                    or exemptions
 38. Accounts receivable or commissions you already earned
             No.
             Yes.          Describe.....
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                $____________



Official Form 106A/B                       Record #         889196                                        Schedule A/B: Property                                                                       Page 4 of 6
                             Case 22-31102-pes Doc 1 Filed 10/27/22 Page 22 of 60
Debtor 1     Cathy                     Jo Ann                    Weaver
                                                                Case Number (if known) ______________________________
             __________________________________________________________________
                  USDC
                  USDCIN/ND
                       IN/NDcase
              First Name
                             case3:22-cv-00395-MGG
                                  3:22-cv-00395-MGG document
                                                     document119-1
                                                              67-1 filed
                                                      Middle Name
                                                                       filed01/23/23
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                                                                                              Last Name
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                                                                                                                  129
 39. Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 41. Inventory
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 42. Interests in partnerships or joint ventures
             No.                             Name of Entity and Percent of Ownership:
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 43. Customer lists, mailing lists, or other compilations
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 44. Any business-related property you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________

 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here .................................................................................................................................... -->            $ 0.00


   Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                    If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 48. Crops—either growing or harvested
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 50. Farm and fishing supplies, chemicals, and feed
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________
 51. Any farm- and commercial fishing-related property you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                             0.00
                                                                                                                                                                                   $____________

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .................................................................................................................................... -->            $0.00




Official Form 106A/B                       Record #         889196                                        Schedule A/B: Property                                                        Page 5 of 6
                           Case 22-31102-pes Doc 1 Filed 10/27/22 Page 23 of 60
Debtor 1     Cathy                     Jo Ann                    Weaver
                                                              Case Number (if known) ______________________________
             __________________________________________________________________
                USDC
                USDCIN/ND
                     IN/NDcase
             First Name
                           case3:22-cv-00395-MGG
                                3:22-cv-00395-MGG document
                                                   document119-1
                                                Middle Name
                                                            67-1 filed
                                                                     filed01/23/23
                                                                              06/29/23 page
                                                                              Last Name
                                                                                               page92   92of of129
                                                                                                                129


   Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership
             No.
             Yes.         Describe.....
                                                                                                                                                           0.00
                                                                                                                                                 $____________


 54. Add the dollar value of all of your entries from Part 7. Write that number here ..................................................... -->            $0.00



   Part 8:          List the Totals of Each Part of this Form



 55. Part 1: Total real estate, line 2                                                                                                                  $ 0.00

 56. Part 2: Total vehicles, line 5                                                                                   $ 12,425.00

 57. Part 3: Total personal and household items, line 15                                                                $ 3,150.00

 58. Part 4: Total financial assets, line 36                                                                               $ 446.00

 59. Part 5: Total business-related property, line 45                                                                         $ 0.00

 60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00

 61. Part 7: Total other property not listed, line 54                                                                         $ 0.00

 62. Total personal property. Add lines 56 through 61. .......................                                        $ 16,021.00                 $ 16,021.00



 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                  $16,021.00




Official Form 106A/B                      Record #   889196                               Schedule A/B: Property                                      Page 6 of 6
                          Case 22-31102-pes Doc 1 Filed 10/27/22 Page 24 of 60
               USDC
               USDCIN/ND
                    IN/NDcase
                          case3:22-cv-00395-MGG
                               3:22-cv-00395-MGG document
                                                  document119-1
                                                           67-1 filed
                                                                 filed01/23/23
                                                                      06/29/23 page
                                                                               page93
                                                                                    93of
                                                                                      of129
                                                                                         129
   Fill in this information to identify your case:


   Debtor 1                Cathy                     Jo Ann                    Weaver
                           __________________________________________________________________
                           First Name                        Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                        Middle Name                  Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                          (State)
   Case Number ______________________________________________                                                                                                   Check if this is an
    (If known)                                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                                       04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.


   Part 1:               Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions . 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions . 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on                       Current value of the       Amount of the exemption you claim       Specific laws that allow exemption
       Schedule A/B that lists this property                               portion you own

                                                                           Copy the value from        Check only one box for each exemption
                                                                           Schedule A/B
     Brief                       2019 Chevrolet Malibu with over                                                                              IC 34-55-10-2(c)(2) - $1,500.00
                                                                                                                                              _____________________________
     description:                125,000 miles
                                 _________________________                    12,425
                                                                           $________________                 1,500
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               03
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Furniture, linens, small appliances,                                                                         IC 34-55-10-2(c)(2) - $1,000.00
                                                                                                                                              _____________________________
     description:                table & chairs, bedroom set
                                 _________________________                    1,000
                                                                           $________________                 1,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               06
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       TV, laptop, printer, camera,                                                                                 IC 34-55-10-2(c)(2) - $1,000.00
                                                                                                                                              _____________________________
     description:                cellphone
                                 _________________________                    1,000
                                                                           $________________                 1,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               07
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Everyday clothes, shoes,                                                                                     IC 34-55-10-2(c)(2) - $150.00
                                                                                                                                              _____________________________
     description:                accessories
                                 _________________________                    150
                                                                           $________________                 150
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               11
                                 ______                                                                  any applicable statutory limit       _____________________________




  Official Form 106C                         Record #       889196                 Schedule C: The Property You Claim as Exempt                                        Page 1 of 2
                                  Case 22-31102-pes Doc 1 Filed 10/27/22 Page 25 of 60
Debtor 1
             USDC
             USDCIN/ND
             Cathy      IN/NDcase case    3:22-cv-00395-MGG
                                           3:22-cv-00395-MGG
                                       Jo Ann                    Weaver     document
                                                                             document119-1
             __________________________________________________________________
                                                                                      67-1 Casefiled
                                                                                                filed 01/23/23
                                                                                                       06/29/23 page       page94   94ofof129
                                                                                                                                            129
                                                                                                  Number (if known) ______________________________
              First Name                        Middle Name            Last Name




   Part 2:         Additional Page


      Brief description of the property and line on            Current value of the     Amount of the exemption you claim       Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own

                                                               Copy the value from      Check only one box for each exemption
                                                               Schedule A/B
     Brief                 A cat named "Evie"                                                                                   IC 34-55-10-2(c)(2) - $0.00
                                                                                                                                _____________________________
     description:          _________________________              0
                                                               $________________                0
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         13
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 books, CDs, DVDs & Family                                                                            IC 34-55-10-2(c)(2) - $1,000.00
                                                                                                                                _____________________________
     description:          Photos
                           _________________________              1,000
                                                               $________________                1,000
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         14
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Other financial account, Venmo,                                                                      IC 34-55-10-2(c)(3) - $0.00
                                                                                                                                _____________________________
     description:          0.00
                           _________________________              0
                                                               $________________                0
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Savings Account, JPMorgan Chase                                                                      IC 34-55-10-2(c)(3) - $0.00
                                                                                                                                _____________________________
     description:          Bank, 1.00
                           _________________________              1
                                                               $________________                0
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Checking Account, Alhambra Credit                                                                    IC 34-55-10-2(c)(3) - $20.00
                                                                                                                                _____________________________
     description:          Union, 20.00
                           _________________________              20
                                                               $________________                20
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Checking Account, JPMorgan                                                                           IC 34-55-10-2(c)(3) - $430.00
                                                                                                                                _____________________________
     description:          Chase Bank, 425.00
                           _________________________              425
                                                               $________________                430
                                                                                            $ _________________________         _____________________________
                                                                                                                                _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit      _____________________________

     Brief                 Counter-claim against The                                                                            IC 34-55-10-2(c)(3) - $0.00
                                                                                                                                _____________________________
     description:          Evolutionary Level Above Human,
                           _________________________                      Unknown
                                                               $________________                0
                                                                                            $ _________________________         _____________________________
                           Inc. in case no. 22-CV-00395-MGG,
                           filed in the Northern District of                                                                    _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         30
                           ______                                                           any applicable statutory limit      _____________________________

 3. Are you claiming a homestead exemption of more than $189,050?

    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment .)

           No.

           Yes. Did you acquire the property covered by the exemption within 1 ,215 days before you filed this case?

                 No

                 Yes.




  Official Form 106C                  Record #        889196           Schedule C: The Property You Claim as Exempt                                      Page 2 of 2
                                   Case 22-31102-pes Doc 1 Filed 10/27/22 Page 26 of 60
      Fill in this information to identify your case:
                        USDC
                        USDCIN/ND
                             IN/NDcase
                                   case3:22-cv-00395-MGG
                                        3:22-cv-00395-MGG document
                                                           document119-1
                                                                    67-1 filed
                                                                          filed01/23/23
                                                                               06/29/23 page
                                                                                        page95
                                                                                             95of
                                                                                               of129
                                                                                                  129
      Debtor 1                Cathy                     Jo Ann                    Weaver
                              __________________________________________________________________
                              First Name                     Middle Name                     Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                     Middle Name                     Last Name



      United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                             (State)
      Case Number ______________________________________________                                                                                                        Check if this is an
       (If known)                                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
 1. Do any creditors have claims secured by your property?

              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

              Yes. Fill in all of the information below.


      Part 1:               List All Secured Claims

                                                                                                                                          Column A              Column A               Column C
 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately                             Amount of claim       Value of collateral    Unsecured
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                            Do not deduct the     that supports this     portion
         As much as possible, list the claims in alphabetical order according to the creditors name.                                      value of collateral   claim                  If any

 2.1                                                                       Describe the property that secures the claim:                    22,036.00
                                                                                                                                          $_____________          12,425.00
                                                                                                                                                                $______________          9,611.00
                                                                                                                                                                                       $________
              Citizens Bank Na
             _________________________________
                                                                                                                                          _
             Creditor's Name                                               2019 Chevrolet Malibu with over 125,000 miles
             480 JEFFERSON BLVD
             _________________________________
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             WARWICK                RI 02886
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
                                    10-03-2019
         Date Debt was incurred _____________                                                                   5674____ ____
                                                                           Last 4 digits of account number ____ ____

      Part 2:               List Others to Be Notified for a Debt That You Already Listed



 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




         Add the dollar value of your entries in Column A on this page. Write that number here:                                             22,036.00
                                                                                                                                          $_____________
Official Form 106D                            Record #     889196                  Schedule D: Creditors Who Have Claims Secured by _Property                                            Page 1 of 1
                                  Case 22-31102-pes Doc 1 Filed 10/27/22 Page 27 of 60
     Fill in this information to identify your case:
                       USDC
                       USDCIN/ND
                            IN/NDcase
                                  case3:22-cv-00395-MGG
                                       3:22-cv-00395-MGG document
                                                          document119-1
                                                                   67-1 filed
                                                                         filed01/23/23
                                                                              06/29/23 page
                                                                                       page96
                                                                                            96of
                                                                                              of129
                                                                                                 129
     Debtor 1                Cathy                     Jo Ann                    Weaver
                             __________________________________________________________________
                             First Name                    Middle Name                     Last Name


     Debtor 2                __________________________________________________________________
     (Spouse, if filing)     First Name                    Middle Name                     Last Name



     United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                           (State)
     Case Number ______________________________________________                                                                                                   Check if this is an
      (If known)                                                                                                                                                  amended filing

Official Form 106E/F
                                                                                                                                                                                           12/15
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property . If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
top of any additional pages, write your name and case number (if known).

     Part 1:               List All of Your PRIORITY Unsecured Claims


 1. Do any creditors have priority unsecured claims against you?

             No. Go to Part 2.

             Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                                Total claim   Priority       Nonpriority
                                                                                                                                                              amount         amount

                           List All of Your NONPRIORITY Unsecured Claims
     Part 2:


 3. Do any creditors have nonpriority unsecured claims against you?

             No. You have nothing to report in this part. Submit this form to the court with your other schedules.

             Yes.
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.
                                                                                                                                                                             Total claim
 4.1         Bank of America
            _________________________________                            Last 4 digits of account number ____ ____ ____ ____                                                   3,932.00
                                                                                                                                                                             $___________
            Creditor's Name
            PO BOX 982238
            _________________________________                            When was the debt incurred?                  2022-2022
                                                                                                                     ______________
             Number                 Street

            _________________________________                            As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
            EL PASO                TX 79998
            _________________________________                               Unliquidated
             City                               State   Zip Code
        Who owes the debt? Check one.                                       Disputed

              Debtor 1 only
              Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                    Student loans.
              At least one of the debtors and another                       Obligations arising out of a separation agreement or divorce

             Check if this claim relates to a                               that you did not report as priority claims
             community debt                                                 Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offest?
              No                                                                             Credit Card or Credit Use
                                                                            Other. Specify ______________________________________
              Yes




Official Form 106E/F                         Record #    889196                        Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 1 of 7
                                      Case 22-31102-pes Doc 1 Filed 10/27/22 Page 28 of 60
Debtor 1
                USDC
                  USDCIN/ND
              Cathy         IN/NDcase case
                                        Jo Ann3:22-cv-00395-MGG
                                               3:22-cv-00395-MGG  Weaver
              __________________________________________________________________
                                                                                 document
                                                                                  document119-1
                                                                                           67-1    filed
                                                                                                    filed01/23/23
                                                                                                             06/29/23 page    page97   97of of129
                                                                                                                                               129
                                                                                             Case Number (if known) ______________________________
              First Name                      Middle Name                Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total Claim


 4.2        Barclays Bank Delaware
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                               4,814.00
                                                                                                                                               $___________
           Creditor's Name
           PO BOX 8803
           _________________________________                   When was the debt incurred?                  2021-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           WILMINGTON             DE 19899
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.3        Citicards Cbna
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                               4,955.00
                                                                                                                                               $___________
           Creditor's Name
           PO BOX 6241
           _________________________________                   When was the debt incurred?                  2021-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           SIOUX FALLS            SD 57117
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.4        Commerce Bk
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                               8,019.00
                                                                                                                                               $___________
           Creditor's Name
           PO BOX 411036
           _________________________________                   When was the debt incurred?                  2021-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           KANSAS CITY            MO 64141
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        889196                 Schedule E/F: Creditors Who Have Unsecured Claims             Page 2 of 7
                                      Case 22-31102-pes Doc 1 Filed 10/27/22 Page 29 of 60
Debtor 1
                USDC
                  USDCIN/ND
              Cathy         IN/NDcase case
                                        Jo Ann3:22-cv-00395-MGG
                                               3:22-cv-00395-MGG  Weaver
              __________________________________________________________________
                                                                                 document
                                                                                  document119-1
                                                                                           67-1    filed
                                                                                                    filed01/23/23
                                                                                                             06/29/23 page    page98   98of of129
                                                                                                                                               129
                                                                                             Case Number (if known) ______________________________
              First Name                      Middle Name                Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total Claim


 4.5        Equifax
           _________________________________                                                        6960____ ____
                                                               Last 4 digits of account number ____ ____                                         0.00
                                                                                                                                               $___________
           Creditor's Name
           Po Box 740241
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Atlanta                Ga 30374
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Notice Only
                                                                  Other. Specify ______________________________________
            Yes

 4.6        Experian
           _________________________________                                                        6960____ ____
                                                               Last 4 digits of account number ____ ____                                         0.00
                                                                                                                                               $___________
           Creditor's Name
           Po Box 2002
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Allen                  Tx 75013
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Notice Only
                                                                  Other. Specify ______________________________________
            Yes

 4.7        Grand Canyon Universit
           _________________________________                                                        4088____ ____
                                                               Last 4 digits of account number ____ ____                                         1,838.00
                                                                                                                                               $___________
           Creditor's Name
           3300 W CAMELBACK RD
           _________________________________                   When was the debt incurred?                  2016-2017
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           PHOENIX                AZ 85017
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Personal Loan
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        889196                 Schedule E/F: Creditors Who Have Unsecured Claims             Page 3 of 7
                                      Case 22-31102-pes Doc 1 Filed 10/27/22 Page 30 of 60
Debtor 1
                USDC
                  USDCIN/ND
              Cathy         IN/NDcase case
                                        Jo Ann3:22-cv-00395-MGG
                                               3:22-cv-00395-MGG  Weaver
              __________________________________________________________________
                                                                                 document
                                                                                  document119-1
                                                                                           67-1    filed
                                                                                                    filed01/23/23
                                                                                                             06/29/23 page    page99   99of of129
                                                                                                                                               129
                                                                                             Case Number (if known) ______________________________
              First Name                       Middle Name               Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total Claim


 4.8        Jpmcb Card
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                               467.00
                                                                                                                                               $___________
           Creditor's Name
           PO BOX 15369
           _________________________________                   When was the debt incurred?                  2021-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           WILMINGTON             DE 19850
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.9        Jpmcb Card
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                               1,385.00
                                                                                                                                               $___________
           Creditor's Name
           PO BOX 15369
           _________________________________                   When was the debt incurred?                  2019-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           WILMINGTON             DE 19850
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.10       Small Business Administration
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                               17,200.00
                                                                                                                                               $___________
           Creditor's Name
           801 Tom Martin Dr., Ste. 201
           _________________________________                   When was the debt incurred?                  2020
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Birmingham             AL 35211-6424
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Debt Owed
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        889196                 Schedule E/F: Creditors Who Have Unsecured Claims             Page 4 of 7
                                       Case 22-31102-pes Doc 1 Filed 10/27/22 Page 31 of 60
Debtor 1
               USDC
                USDCIN/ND
              Cathy        IN/NDcase  case   3:22-cv-00395-MGG
                                        Jo Ann3:22-cv-00395-MGG   Weaver       document
              __________________________________________________________________
                                                                                 document119-1
                                                                                         67-1    filed
                                                                                                  filed01/23/23
                                                                                                          06/29/23 page     page100  100of  of129
                                                                                                                                               129
                                                                                            Case Number (if known) ______________________________
              First Name                       Middle Name               Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                     Total Claim


 4.11       The Evolutionary Level Above Human, Inc. d/b/a The
           _________________________________                LastTelah Foundation
                                                                 4 digits of account number ____ ____ ____ ____                                                              0.00
                                                                                                                                                                           $___________
           Creditor's Name
           7250 N. 16th St, Ste 410
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           Case # 22-CV-00395
           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Phoenix                AZ 85020
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Debt Owed
                                                                  Other. Specify ______________________________________
            Yes

 4.12       Transunion
           _________________________________                                                        6960____ ____
                                                               Last 4 digits of account number ____ ____                                                                     0.00
                                                                                                                                                                           $___________
           Creditor's Name
           Po Box 1000
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Chester                Pa 19022
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Notice Only
                                                                  Other. Specify ______________________________________
            Yes

 4.13       Us Dept of Ed/Glelsi
           _________________________________                                                        8581____ ____
                                                               Last 4 digits of account number ____ ____                                                                     14,200.00
                                                                                                                                                                           $___________
           Creditor's Name
           PO BOX 7860
           _________________________________                   When was the debt incurred?                  2015-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           MADISON                WI 53707
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.                                                      Interest keeps running on most
                                                                                                                                      non-dischargeable debts including student loans,
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce
                                                                                                                                      and other educational debts. You may owe more
            Check if this claim relates to a                      that you did not report as priority claims                          after the case is over than you did before filing.
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                    Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        889196                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 5 of 7
                                      Case 22-31102-pes Doc 1 Filed 10/27/22 Page 32 of 60
Debtor 1
              USDC
               USDCIN/ND
             Cathy        IN/NDcase  case   3:22-cv-00395-MGG
                                       Jo Ann3:22-cv-00395-MGG   Weaver       document
             __________________________________________________________________
                                                                                document119-1
                                                                                        67-1    filed
                                                                                                 filed01/23/23
                                                                                                         06/29/23 page     page101  101of  of129
                                                                                                                                              129
                                                                                           Case Number (if known) ______________________________
             First Name                    Middle Name                       Last Name


   Part 3:         List Others to Be Notified for a Debt That You Already Listed



 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

    US District Court, Northern District of Indiana, Bankruptcy Dept
   _______________________________________________                                       On which entry in Part 1 or Part 2 list the original creditor?
    Name
    1300 S. Harrison St                                                                         8
                                                                                         Line ______ of (Check one):                Part 1: Creditors with Priority Unsecured Claims
   _______________________________________________
    Number                Street                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
    Case # 22-CV-00395
   _______________________________________________

    Fort Wayne                                IN 46802                                   Last 4 digits of account number ____ ____ ____ ____
   _______________________________________________
    City                                                  State   Zip Code




Official Form 106E/F                Record #     889196                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 7
                                      Case 22-31102-pes Doc 1 Filed 10/27/22 Page 33 of 60
Debtor 1
              USDC
               USDCIN/ND
             Cathy        IN/NDcase  case   3:22-cv-00395-MGG
                                       Jo Ann3:22-cv-00395-MGG   Weaver       document
             __________________________________________________________________
                                                                                document119-1
                                                                                        67-1    filed
                                                                                                 filed01/23/23
                                                                                                         06/29/23 page     page102  102of  of129
                                                                                                                                              129
                                                                                           Case Number (if known) ______________________________
             First Name                        Middle Name                 Last Name

                   Add the Amounts for Each Type of Unsecured Claim
   Part 4:


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.



                                                                                                              Total claim

  Total claims            6a. Domestic support obligations                                          6a.     $______________________0.00
  from Part 1
                          6b. Taxes and Certain other debts you owe the                             6b.     $______________________0.00
                              government


                          6c. Claims for death or personal injury while you were                    6c.     $______________________0.00
                              intoxicated


                          6d. Other. Add all other priority unsecured claims.                       6d.     $______________________0.00
                              Write that amount here.




                          6e. Total. Add lines 6a through 6d.                                       6e.     $______________________0.00




                                                                                                              Total claim

  Total claims            6f. Student loans                                                         6f.                       14,200.00
                                                                                                            $______________________
  from Part 2
                          6g. Obligations arising out of a separation agreement                     6g.     $______________________0.00
                              or divorce that you did not report as priority
                              claims


                          6h. Debts to pension or profit-sharing plans, and other                   6h.     $______________________0.00
                              similar debts


                          6i. Other. Add all other nonpriority unsecured claims.                    6i.                       42,610.00
                                                                                                            $______________________
                              Write that amount here.




                          6j. Total. Add lines 6f through 6i.                                       6j.                       56,810.00
                                                                                                            $______________________




Official Form 106E/F                   Record #      889196                     Schedule E/F: Creditors Who Have Unsecured Claims           Page 7 of 7
                                Case 22-31102-pes Doc 1 Filed 10/27/22 Page 34 of 60
   Fill in this information to identify your case:
                    USDC
                    USDCIN/ND
                         IN/NDcase
                               case3:22-cv-00395-MGG
                                    3:22-cv-00395-MGG document
                                                      document119-1
                                                               67-1 filed
                                                                      filed01/23/23
                                                                            06/29/23 page
                                                                                      page103
                                                                                           103of
                                                                                               of129
                                                                                                  129
   Debtor 1              Cathy                     Jo Ann                    Weaver
                         __________________________________________________________________
                         First Name                  Middle Name                      Last Name


   Debtor 2              __________________________________________________________________
   (Spouse, if filing)   First Name                  Middle Name                      Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                      (State)
   Case Number ______________________________________________                                                                                                Check if this is an
       (If known)                                                                                                                                            amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).
 1. Do you have any executory contracts or unexpired leases?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

            Yes. Fill in all of the information below even if the contracts or leases are listed in Schedule A/B: Property (Official Form 106A/B)


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.


        Person or company with whom you have the contract or lease                                                 State what the contract or lease is for


 2.1
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.2
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.3
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code



 2.4
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.5
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code




Official Form 106G                       Record #   889196                     Schedule G. Executory Contracts and Unexpired Leases                                           Page 1 of 1
                         Case 22-31102-pes Doc 1 Filed 10/27/22 Page 35 of 60
             USDC
             USDCIN/ND
                  IN/NDcase
                        case3:22-cv-00395-MGG
                             3:22-cv-00395-MGG document
                                               document119-1
                                                        67-1 filed
                                                               filed01/23/23
                                                                     06/29/23 page
                                                                               page104
                                                                                    104of
                                                                                        of129
                                                                                           129
   Fill in this information to identify your case:


   Debtor 1               Cathy                     Jo Ann                    Weaver
                          __________________________________________________________________
                          First Name                         Middle Name               Last Name


   Debtor 2               __________________________________________________________________
   (Spouse, if filing)    First Name                         Middle Name               Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                       (State)
   Case Number ______________________________________________                                                                                              Check if this is an
    (If known)                                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy
the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of
any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

           No.

           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Lousiiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.

           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. Inwhich community state or territory did you live? __________________. Fill in the name and current address of that person.

                   _______________________________________________________________
                   Name of your spouse, former spouse or legal equivalent
                   _______________________________________________________________
                   Number          Street
                   _______________________________________________________________
                   City                                                       State                 Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                                   Check all schedules that apply:

 3.1                                                                                                                   Schedule D, line __________
          _______________________________________________________________
          Name
                                                                                                                       Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                       Schedule G, line __________
          _______________________________________________________________
           City                                                             State                  Zip Code

 3.2      _______________________________________________________________                                              Schedule D, line __________
          Name
                                                                                                                       Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                       Schedule G, line __________
          _______________________________________________________________
           City                                                             State                  Zip Code

 3.3      _______________________________________________________________                                              Schedule D, line __________
          Name
                                                                                                                       Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                       Schedule G, line __________
          _______________________________________________________________
           City                                                             State                  Zip Code




Official Form 106H                          Record #      889196                      Schedule H: Your Codebtors                                                     Page 1 of 1
                              Case 22-31102-pes Doc 1 Filed 10/27/22 Page 36 of 60
                  USDC
                  USDCIN/ND
                       IN/NDcase
                             case3:22-cv-00395-MGG
                                  3:22-cv-00395-MGG document
                                                    document119-1
                                                             67-1 filed
                                                                    filed01/23/23
                                                                          06/29/23 page
                                                                                    page105
                                                                                         105of
                                                                                             of129
                                                                                                129
      Fill in this information to identify your case:


      Debtor 1                Cathy                     Jo Ann                    Weaver
                              __________________________________________________________________
                              First Name                       Middle Name           Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                       Middle Name           Last Name


      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF INDIANA __

      Case Number ______________________________________________                                                     Check if this is:
       (If known)
                                                                                                                           An amended filing
                                                                                                                           A supplement showing post-petition
                                                                                                                           chapter 13 income as of the following date:
                                                                                                                           _______________
Official Form 106I                                                                                                         MM / DD / YYYY


Schedule I: Your Income
                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:                   Describe Employment



1.        Fill in your employment                                                           Debtor 1                                      Debtor 2 or non-filing spouse
          information

          If you have more than one job,
          attach a separate page with                                                       X    Employed                                 Employed
          information about additional                    Employment status
                                                                                                 Not employed                             Not employed
          employers.

          Include part-time, seasonal, or
          self-employed work.
                                                          Occupation                    1099 Rideshare Driver
          Occupation may Include student
          or homemaker, if it applies.
                                                          Employers name                Uber Technologies, Inc.

                                                          Employers address             1455 Market St.

                                                                                        San Francisco, CA 94103



                                                          How long employed there?      Since 5/1/2015


  Part 2:                   Give Details About Monthly Income


          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
          lines below. If you need more space, attach a separate sheet to this form.



                                                                                                                For Debtor 1             For Debtor 2 or
                                                                                                                                         non-filing spouse

 2.        List monthly gross wages, salary and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.                                    $0.00                         $0.00


 3.        Estimate and list monthly overtime pay.
                                                                                                                          $0.00                         $0.00

 4.        Calculate gross income. Add line 2 + line 3.
                                                                                                                  $0.00                         $0.00




Official Form 106I                         Record #   889196                  Schedule I: Your Income                                                               Page 1 of 2
                         Case 22-31102-pes Doc 1 Filed 10/27/22 Page 37 of 60
            USDC
            USDCIN/ND
            Cathy
                  IN/NDcase
                        case 3:22-cv-00395-MGG
                              3:22-cv-00395-MGG
                           Jo Ann           Weaver
                                                   document
                                                   document119-1
                                                            67-1 filed
                                                                  filed01/23/23
                                                                        06/29/23 page
                                                                                  page106
                                                                                       106of
                                                                                           of129
                                                                                              129
Debtor 1     __________________________________________________________________                                                Case Number (if known) ______________________________
             First Name                               Middle Name                               Last Name



                                                                                                                            For Debtor 1          For Debtor 2 or
                                                                                                                                                  non-filing spouse

      Copy line 4 here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4.     $0.00                       $0.00
5. List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                               5a.             $0.00                      $0.00
      5b. Mandatory contributions for retirement plans                                                                5b.             $0.00                      $0.00
      5c. Voluntary contributions for retirement plans                                                                5c.             $0.00                      $0.00
      5d. Required repayments of retirement fund loans                                                                5d.             $0.00                      $0.00
      5e. Insurance                                                                                                   5e.             $0.00                      $0.00
      5f. Domestic support obligations                                                                                5f.             $0.00                      $0.00
      5g. Union dues                                                                                                  5g.             $0.00                      $0.00
      5h. Other deductions. Specify: ______________________________                                                   5h.             $0.00                      $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                          6.             $0.00                      $0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.     $0.00                      $0.00
8. List all other income regularly received:
      8a.     Net income from rental property and from operating a business,

              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total

              monthly net income.                                                                                     8a.      $1,978.18                        $0.00
      8b.     Interest and dividends                                                                                  8b.           $0.00                       $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                             8c.          $ 0.00                     $ 0.00
              dependent regularly receive
              Include alimony, spousal support, child support, maintenance, divorce

              settlement, and property settlement.
      8d.     Unemployment compensation                                                                               8d.           $0.00                       $0.00
      8e.     Social Security                                                                                         8e.           $0.00                       $0.00
      8f.     Other government assistance that you regularly receive                                                  8f.           $0.00                       $0.00
              Include cash assistance and the value (if known) of any non-cash

              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: ____________________________________________
      8g.     Pension or retirement income                                                                            8g.           $0.00                       $0.00
      8h.     Other monthly income. Specify: __________________________                                               8h.           $0.00                       $0.00
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.      $1,978.18                        $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                  10.                     +                          =
                                                                                                                            $1,978.18                   $0.00                   $1,978.18
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.


11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives .
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                          11.            $0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                      12.     $1,978.18
13.   Do you expect an increase or decrease within the year after you file this form?

           X No.
             Yes. Explain:




Official Form 106I              Record #          889196                                    Schedule I: Your Income                                                            Page 2 of 2
                                  Case 22-31102-pes Doc 1 Filed 10/27/22 Page 38 of 60
                      USDC
                      USDCIN/ND
                           IN/NDcase
                                 case3:22-cv-00395-MGG
                                      3:22-cv-00395-MGG document
                                                        document119-1
                                                                 67-1 filed
                                                                        filed01/23/23
                                                                              06/29/23 page
                                                                                        page107
                                                                                             107of
                                                                                                 of129
                                                                                                    129
      Fill in this information to identify your case:


      Debtor 1                Cathy                     Jo Ann                    Weaver
                              __________________________________________________________________                             Check if this is:
                              First Name                   Middle Name                        Last Name
                                                                                                                                    An amended filing
      Debtor 2                __________________________________________________________________                                    A supplement showing post-petition chapter 13
      (Spouse, if filing)     First Name                   Middle Name                        Last Name
                                                                                                                                    income as of the following date:
      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF INDIANA __                                                   _______________
                                                                                                                                    MM / DD / YYYY
      Case Number ______________________________________________
       (If known)

                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
Official Form 106J                                                                                                                  maintains a separate household.

Schedule J: Your Expenses                                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

  Part 1:                   Describe Your Household

 1. Is this a joint case?
           X No. Go to line 2.

                 Yes. Does Debtor 2 live in a separate household?

                                   No.
                                   Yes. Debtor 2 must file a separate Schedule J.


 2.        Do you have dependents?                           X     No                                             Dependent's relationship to      Dependent's     Does dependent live
                                                                                                                  Debtor 1 or Debtor 2             age             with you?
           Do not list Debtor 1 and                                Yes. Fill out this information for
           Debtor 2.                                               each dependent..............................                                                      X No

           Do not state the dependents'                                                                                                                                 Yes
           names.
                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

 3.        Do your expenses include                                X     No
           expenses of people other than
           yourself and your dependents?                                 Yes


  Part 2:                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
 the applicable date.
 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                                        Your expenses

 4.       The rental or home ownership expenses for your residence. Include first mortgage payments and
          any rent for the ground or lot.                                                                                                                 4.                        $700.00
          If not included in line 4:

          4a.        Real estate taxes                                                                                                                   4a.                             $0.00
          4b.        Property, homeowner's, or renter's insurance                                                                                        4b.                             $0.00
          4c.        Home maintenance, repair, and upkeep expenses                                                                                       4c.                             $0.00
          4d.        Homeowner's association or condominium dues                                                                                         4d.                             $0.00


Official Form 1066J                          Record #      889196                     Schedule J: Your Expenses                                                             Page 1 of 3
                           Case 22-31102-pes Doc 1 Filed 10/27/22 Page 39 of 60
              USDC
               USDCIN/ND
             Cathy
                    IN/NDcase
                          case  3:22-cv-00395-MGG
                                 3:22-cv-00395-MGG
                            Jo Ann           Weaver
                                                    document
                                                    document119-1
                                                             67-1 filed
                                                                   filed01/23/23
                                                                         06/29/23 page
                                                                                   page108
                                                                                        108of
                                                                                            of129
                                                                                               129
Debtor 1     __________________________________________________________________                         Case Number (if known) ______________________________
             First Name                    Middle Name                  Last Name



                                                                                                                                             Your expenses


 5.    Additional Mortgage payments for your residence, such as home equity loans                                                       5.                         $0.00
 6.    Utilities:
       6a.    Electricity, heat, natural gas                                                                                          6a.                          $0.00
       6b.    Water, sewer, garbage collection                                                                                        6b.                          $0.00
       6c.    Telephone, cell phone, internet, satellite, and cable service                                                           6c.                        $100.00
       6d.    Other. Specify:____________________________________                                                                     6d.         $                    0.00
 7.    Food and housekeeping supplies                                                                                                   7.                       $225.00
 8.    Childcare and children’s education costs                                                                                         8.                         $0.00
 9.    Clothing, laundry, and dry cleaning                                                                                              9.                         $0.00
 10.   Personal care products and services                                                                                            10.                          $0.00
 11.   Medical and dental expenses                                                                                                    11.                          $0.00
 12.   Transportation. Include gas, maintenance, bus or train fare.                                                                   12.                        $190.00
       Do not include car payments.

 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                             13.                          $0.00
 14.   Charitable contributions and religious donations                                                                               14.                          $0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                                           15a.                          $0.00
       15b. Health insurance                                                                                                         15b.                          $0.00
       15c. Vehicle insurance                                                                                                        15c.                        $205.00
       15d. Other insurance. Specify:_______________________________________                                                         15d.                          $0.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

                 Federal or State Tax Deductions or Repayments
       Specify: ________________________________________________________                                                              16.                          $0.00
 17.   Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                               17a.                        $537.53
       17b. Car payments for Vehicle 2                                                                                               17b.                          $0.00
       17c. Other. Specify:_______________________________________________                                                           17c.                          $0.00
       17d. Other. Specify:__________________________________________________________________                                        17d.                          $0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as deducted

       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                         18.                          $0.00
 19.   Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                                                19.                          $0.00
 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                              20a.         $                    0.00
       20b. Real estate taxes                                                                                                        20b.         $                    0.00
       20c. Property, homeowner’s, or renter’s insurance                                                                             20c.         $                    0.00
       20d. Maintenance, repair, and upkeep expenses                                                                                 20d.         $                    0.00
       20e. Homeowner’s association or condominium dues                                                                              20e.         $                    0.00




Official Form 1066J                 Record #       889196              Schedule J: Your Expenses                                                         Page 2 of 3
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                USDC
                 USDCIN/ND
               Cathy
                      IN/NDcase
                            case  3:22-cv-00395-MGG
                                   3:22-cv-00395-MGG
                              Jo Ann           Weaver
                                                      document
                                                      document119-1
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                                                                                                 129
Debtor 1       __________________________________________________________________                            Case Number (if known) ______________________________
               First Name                    Middle Name                 Last Name


 21.   Other. Specify: ________________________________________________________                                                            21.                          $0.00
 22.. Your monthly expense: Add lines 4 through 21.                                                                                        22.                       $1,957.53
       The result is your monthly expenses.




 23.   Calculate your monthly net income.

       23a.             Copy line 12 (your comibined monthly income) from Schedule I.                                                     23a.                       $1,978.18
       23b.             Copy your monthly expenses from line 22 above.                                                                    23b.   -                   $1,957.53
       23c.             Subtract your monthly expenses from your monthly income.                                                          23c.              $20.65
                        The result is your monthly net income.




 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           X    No
                Yes.         Explain Here:




Official Form 1066J                   Record #       889196              Schedule J: Your Expenses                                                            Page 3 of 3
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                                                                                      of129
                                                                                         129
   Fill in this information to identify your case:


    Debtor 1                Cathy                     Jo Ann                    Weaver
                            __________________________________________________________________
                            First Name                     Middle Name                  Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                     Middle Name                  Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                  (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                        Check if this is an
                                                                                                                                                      amended filing




Official Form 106 Dec
Declaration About an Individual Debtor's Schedules                                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below




   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No

             Yes. Name of Person _____________________________________________.                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




  û       /s/ Cathy Jo Ann Weaver
         ________________________________________
         Signature of Debtor 1
                                                                                 û     ______________________________________
                                                                                       Signature of Debtor 2


               10/25/2022
         Date _________________                                                        Date _________________
              MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 106Dec                     Record # 889196        Declaration About an Individual Debtor's Schedules                                                     page 1
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B2030 (Form 2030) (12/15)

                                                  United States Bankruptcy Court
                                         NORTHERN DISTRICT OF INDIANA SOUTH BEND DIVISION
In re

Cathy Jo Ann Weaver / Debtor                                                                          Case No:

                                                                                                      Chapter:     Chapter 7

                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept                    $1,800.00
        Prior to the filing of this statement I have received          $1,800.00
        Balance Due                                                         $0.00


2.      The source of the compensation paid to me was:
              Debtor(s)                Other: (specify)
3.      The source of compensation to be paid to me is:

               Debtor(s)               Other: (specify)
4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
            of my law firm.

            I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
            of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;
     b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
6.   By agreement with the debtor(s), the above-disclosed fee does not include payment for the following services:
     Fee does NOT include payment for: Post filing work unless all fees have been paid in full before filing, or if not, a separate
post-filing contract has been entered into, missed meeting or court dates, amendments to schedules, adversary complaints or
conversions to another chapter, dischargeability actions, valuation hearings, other contested matters.




                                                                       CERTIFICATION
                              I certify that the foregoing is a complete statement of any agreement or arrangement for
                           payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                            Date: 10/25/2022
                            ____________________________               /s/ John Madison Sadler
                                                                       ____________________________
                            Date                                       Signature of Attorney

                                                                       ________________________________________
                                                                        Geraci Law L.L.C.
                                                                       Name of law firm



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         Notice Required by 11 U.S.C. § 342(b) for
         Individuals Filing for Bankruptcy (Form 2010)


         This notice is for you if:                                                 Chapter 7: Liquidation

              You are an individual filing for bankruptcy,                                          $245   filing fee
              and                                                                                   $78    administrative fee
                                                                                    +_________$15____trustee surcharge
              Your debts are primarily consumer debts.                                              $338   total fee
              Consumer debts are defined in 11 U.S.C.
              § 101(8) as “incurred by an individual                                Chapter 7 is for individuals who have financial
              primarily for a personal, family, or                                  difficulty preventing them from paying their
              household purpose.”                                                   debts and who are willing to allow their non-
                                                                                    exempt property to be used to pay their
                                                                                    creditors. The primary purpose of filing under
                                                                                    chapter 7 is to have your debts discharged. The
         The types of bankruptcy that are                                           bankruptcy discharge relieves you after
         available to individuals                                                   bankruptcy from having to pay many of your
                                                                                    pre-bankruptcy debts. Exceptions exist for
         Individuals who meet the qualifications may file                           particular debts, and liens on property may still
         under one of four different chapters of the                                be enforced after discharge. For example, a
         Bankruptcy Code:                                                           creditor may have the right to foreclose a home
                                                                                    mortgage or repossess an automobile.
              Chapter 7 - Liquidation
                                                                                    However, if the court finds that you have
              Chapter 11 - Reorganization                                           committed certain kinds of improper conduct
                                                                                    described in the Bankruptcy Code, the court
              Chapter 12 - Voluntary repayment plan                                 may deny your discharge.
                                for family farmers
                                or fishermen                                        You should know that even if you file
                                                                                    chapter 7 and you receive a discharge, some
              Chapter 13 - Voluntary repayment plan                                 debts are not discharged under the law.
                                for individuals with regular                        Therefore, you may still be responsible to pay:
                                income                                                   most taxes;
                                                                                         most student loans;
         You should have an attorney review your decision                                domestic support and property settlement
         to file for bankruptcy and the choice of chapter.
                                                                                         obligations;




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              most fines, penalties, forfeitures, and                               your income is more than the median income
              criminal restitution obligations; and                                 for your state of residence and family size,
              certain debts that are not listed in your                             depending on the results of the Means Test, the
                                                                                    U.S. trustee, bankruptcy administrator, or
              bankruptcy papers.
                                                                                    creditors can file a motion to dismiss your case
                                                                                    under § 707(b) of the Bankruptcy Code. If a
         You may also be required to pay debts arising                              motion is filed, the court will decide if your
         from:                                                                      case should be dismissed. To avoid dismissal,
                                                                                    you may choose to proceed under another
              fraud or theft;                                                       chapter of the Bankruptcy Code.
              fraud or defalcation while acting in breach
              of fiduciary capacity;                                                If you are an individual filing for chapter 7
              intentional injuries that you inflicted; and                          bankruptcy, the trustee may sell your property
              death or personal injury caused by                                    to pay your debts, subject to your right to
                                                                                    exempt the property or a portion of the
              operating a motor vehicle, vessel, or
                                                                                    proceeds from the sale of the property. The
              aircraft while intoxicated from alcohol or
                                                                                    property, and the proceeds from property that
              drugs.
                                                                                    your bankruptcy trustee sells or liquidates that
                                                                                    you are entitled to, is called exempt property.
         If your debts are primarily consumer debts, the                            Exemptions may enable you to keep your
         court can dismiss your chapter 7 case if it finds                          home, a car, clothing, and household items or
         that you have enough income to repay                                       to receive some of the proceeds if the property
         creditors a certain amount. You must file                                  is sold.
         Chapter 7 Statement of Your Current Monthly
         Income (Official Form 122A-1) if you are an                                Exemptions are not automatic. To exempt
         individual filing for bankruptcy under                                     property, you must list it on Schedule C: The
         chapter 7. This form will determine your                                   Property You Claim as Exempt (Official Form
         current monthly income and compare whether                                 106C). If you do not list the property, the
         your income is more than the median income                                 trustee may sell it and pay all of the proceeds
         that applies in your state.                                                to your creditors.

         If your income is not above the median for
         your state, you will not have to complete the
         other chapter 7 form, the Chapter 7 Means                                  Chapter 11: Reorganization
         Test Calculation (Official Form 122A-2).
                                                                                                    $1,167   filing fee
                                                                                    +_________$571___administrative fee
         If your income is above the median for your                                                $1,738   total fee
         state, you must file a second form -the
         Chapter 7 Means Test Calculation (Official
         Form 122A-2). The calculations on the form-
                                                                                    Chapter 11 is often used for reorganizing a
         sometimes called the Means Test-deduct
                                                                                    business, but is also available to individuals.
         from your income living expenses and
                                                                                    The provisions of chapter 11 are too
         payments on certain debts to determine any
                                                                                    complicated to summarize briefly.
         amount available to pay unsecured creditors. If



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         Read These Important Warnings


           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a
           mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
           and following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


           Chapter 12:           Repayment plan for family                            Under chapter 13, you must file with the court
                                 farmers or fishermen                                 a plan to repay your creditors all or part of the
                                                                                      money that you owe them, usually using your
                           $200       filing fee
                                                                                      future earnings. If the court approves your
           +               $78        administrative fee
                           $278       total fee
                                                                                      plan, the court will allow you to repay your
                                                                                      debts, as adjusted by the plan, within 3 years or
                                                                                      5 years, depending on your income and other
           Similar to chapter 13, chapter 12 permits
                                                                                      factors.
           family farmers and fishermen to repay their
           debts over a period of time using future
                                                                                      After you make all the payments under your
           earnings and to discharge some debts that are
                                                                                      plan, many of your debts are discharged. The
           not paid.
                                                                                      debts that are not discharged and that you may
                                                                                      still be responsible to pay include:
           Chapter 13:            Repayment plan for
                                  individuals with regular                                 domestic support obligations,
                                  income                                                   most student loans,
                           $235       filing fee                                           certain taxes,
           +               $78        administrative fee                                   debts for fraud or theft,
                           $313       total fee                                            debts for fraud or defalcation while acting
                                                                                           in a fiduciary capacity,
                                                                                           most criminal fines and restitution
           Chapter 13 is for individuals who have regular
           income and would like to pay all or part of                                     obligations,
           their debts in installments over a period of time                               certain debts that are not listed in your
           and to discharge some debts that are not paid.                                  bankruptcy papers,
           You are eligible for chapter 13 only if your                                    certain debts for acts that caused death or
           debts are not more than certain dollar amounts                                  personal injury, and
           set forth in 11 U.S.C. § 109.                                                   certain long-term secured debts.


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                                                                                    A married couple may file a bankruptcy case
            Warning: File Your Forms on Time                                        together-called a joint case. If you file a joint
                                                                                    case and each spouse lists the same mailing
            Section 521(a)(1) of the Bankruptcy Code
            requires that you promptly file detailed information                    address on the bankruptcy petition, the
            about your creditors, assets, liabilities, income,                      bankruptcy court generally will mail you and
            expenses and general financial condition. The                           your spouse one copy of each notice, unless
            court may dismiss your bankruptcy case if you do
            not file this information within the deadlines set by
                                                                                    you file a statement with the court asking that
            the Bankruptcy Code, the Bankruptcy Rules, and                          each spouse receive separate copies.
            the local rules of the court.

            For more information about the documents and                            Understand which services you
            their deadlines, go to:                                                 could receive from credit
            http://www.uscourts.gov/forms/bankruptcy-forms
                                                                                    counseling agencies


         Bankruptcy crimes have serious
                                                                                    The law generally requires that you receive a
                                                                                    credit counseling briefing from an approved
         consequences
                                                                                    credit counseling agency. 11 U.S.C. § 109(h).
                                                                                    If you are filing a joint case, both spouses must
               If you knowingly and fraudulently conceal
                                                                                    receive the briefing. With limited exceptions,
               assets or make a false oath or statement
                                                                                    you must receive it within the 180 days before
               under penalty of perjury-either orally or
                                                                                    you file your bankruptcy petition. This briefing
               in writing-in connection with a
                                                                                    is usually conducted by telephone or on the
               bankruptcy case, you may be fined,
                                                                                    Internet.
               imprisoned, or both.
                                                                                    In addition, after filing a bankruptcy case, you
               All information you supply in connection with a
                                                                                    generally must complete a financial
               bankruptcy case is subject to
                                                                                    management instructional course before you
               examination by the Attorney General acting
                                                                                    can receive a discharge. If you are filing a joint
               through the Office of the U.S. Trustee, the
                                                                                    case, both spouses must complete the course.
               Office of the U.S. Attorney, and other
               offices and employees of the U.S.
                                                                                    You can obtain the list of agencies approved to
               Department of Justice.
                                                                                    provide both the briefing and the instructional
                                                                                    course from: http://www.uscourts.gov/services-
         Make sure the court has your                                               forms/bankruptcy/credit-counseling-and-debtor-
         mailing address                                                            education-courses.

         The bankruptcy court sends notices to the                                  In Alabama and North Carolina, go to:
         mailing address you list on Voluntary Petition                             http://www.uscourts.gov/services-
         for Individuals Filing for Bankruptcy (Official                            forms/bankruptcy/credit-counseling-and-
         Form 101). To ensure that you receive                                      debtor-education-courses.
         information about your case, Bankruptcy
         Rule 4002 requires that you notify the court of                            If you do not have access to a computer, the
         any changes in your address.                                               clerk of the bankruptcy court may be able to help
                                                                                    you obtain the list.




                 I have read the above document, and any questions I may have were answered by my attorney before signing.


                         10/25/2022 /s/ Cathy Jo Ann Weaver
                                                                Cathy Jo Ann Weaver




              Dated: 10/25/2022 /s/ John Madison Sadler
                                           Attorney: John Madison Sadler
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   Fill in this information to identify your case:
                    USDC
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                                                                                                  129
    Debtor 1               Cathy                     Jo Ann                    Weaver
                           __________________________________________________________________
                           First Name                     Middle Name                 Last Name


    Debtor 2               __________________________________________________________________
    (Spouse, if filing)    First Name                     Middle Name                 Last Name



    United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                      (State)
    Case Number ______________________________________________                                                                                        Check if this is an
    (If known)                                                                                                                                        amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:
n creditors have claims secured by your property, or
n you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

   Part 1:                List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
    information below.

   Identify the creditor and the property that is collateral                             What do you intend to do with the property that       Did you claim the property
                                                                                         secures a debt?                                       as exempt on Schedule C?


   Creditor's                                                                                     Surrender the property                            No
   name:                            Citizens Bank Na                                              Retain the property and redeem it                 Yes
                                    2019 Chevrolet Malibu with over 125,000 miles                 Retain the property and enter into a
   Description of
   property                                                                                       Reaffirmation Agreement.
   securing debt:                                                                                 Retain the property and [explain]: _______
                                                                                                  ____________________________________

   Creditor's                                                                                     Surrender the property                            No
   name:                                                                                          Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
   Description of
   property                                                                                       Reaffirmation Agreement.
   securing debt:                                                                                 Retain the property and [explain]: _______
                                                                                                  ____________________________________

   Creditor's                                                                                     Surrender the property                            No
   name:                                                                                          Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
   Description of
   property                                                                                       Reaffirmation Agreement.
   securing debt:                                                                                 Retain the property and [explain]: _______
                                                                                                  ____________________________________

   Creditor's                                                                                     Surrender the property                            No
   name:                                                                                          Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
    Description of
    property                                                                                      Reaffirmation Agreement.
    securing debt:                                                                                Retain the property and [explain]: _______
                                                                                                  ____________________________________


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Debtor 1     Cathy                     Jo Ann                    Weaver
                                                             Case Number (if known) ______________________________
             __________________________________________________________________
               USDC
               USDCIN/ND
                    IN/NDcase
             First Name
                          case3:22-cv-00395-MGG
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   Part 2:         List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



     Describe your unexpired personal property leases                                                                                            Will the lease be assumed?

    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


  Part 3:         Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.




û    /s/ Cathy Jo Ann Weaver
     ________________________________________
     Signature of Debtor 1
                                                                       û     ________________________________________
                                                                             Signature of Debtor 2

           10/25/2022
     Date _________________                                                  Date _________________
          MM / DD / YYYY                                                          MM / DD / YYYY

Official Form 108               Record # 889196         Statement of Intention for Individuals Filing Under Chapter 7                                                   Page 2 of 2
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                            UNITED STATES BANKRUPTCY COURT
In re
                 NORTHERN DISTRICT OF INDIANA SOUTH BEND DIVISION
 Cathy Jo Ann Weaver / Debtor                                                                            Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




10/25/2022                                /s/ Cathy Jo Ann Weaver                                                        X Date & Sign
                                                           Cathy Jo Ann Weaver




           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
Record #     889196                                                                                    B 1D (Official Form 1, Exh.D)(12/08)   Page 1 of 1
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           case3:22-cv-00395-MGG
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                                                                           of129
                                                                              129
                          Bank of America
                          Attn: Bankruptcy Dept.
                          PO BOX 982238
                          EL PASO TX 79998

                          Barclays Bank Delaware
                          Attn: Bankruptcy Dept.
                          PO BOX 8803
                          WILMINGTON DE 19899

                          Citicards Cbna
                          Attn: Bankruptcy Dept.
                          PO BOX 6241
                          SIOUX FALLS SD 57117

                          Citizens Bank Na
                          Attn: Bankruptcy Dept.
                          480 JEFFERSON BLVD
                          WARWICK RI 02886

                          Commerce Bk
                          Attn: Bankruptcy Dept.
                          PO BOX 411036
                          KANSAS CITY MO 64141

                          Grand Canyon Universit
                          Attn: Bankruptcy Dept.
                          3300 W CAMELBACK RD
                          PHOENIX AZ 85017

                          Jpmcb Card
                          Attn: Bankruptcy Dept.
                          PO BOX 15369
                          WILMINGTON DE 19850

                          Small Business Administration
                          Bankruptcy Department
                          801 Tom Martin Dr., Ste. 201
                          Birmingham AL 35211-6424

                          The Evolutionary Level Above Human, Inc. d/b/a The Telah Foundation
                          C/O Messner Reeves LLP
                          7250 N. 16th St, Ste 410
                          Case # 22-CV-00395
                          Phoenix AZ 85020

                          US District Court, Northern District of
                          Indiana
                          Bankruptcy Dept
                          1300 S. Harrison St Case # 22-CV-00395
                          Fort Wayne IN 46802

                          Us Dept of Ed/Glelsi
                          Attn: Bankruptcy Dept.
                          PO BOX 7860
                          MADISON WI 53707
                                        CaseDISCLAIMER
                                                 22-31102-pes Debtors         Doc 1 Filed    have10/27/22
                                                                                                       read andPage         agree:   51 of 60
1.    Divorce USDC
               USDC
              or          IN/ND
                           IN/ND
                 family support debts case
                                       case
                                      to       3:22-cv-00395-MGG
                                                3:22-cv-00395-MGG
                                         a spouse, ex-spouse, child, guardian ad litemdocument
                                                                                      document
                                                                                      or similar person119-1
                                                                                                       67-1
                                                                                                       or            filed
                                                                                                                      filed01/23/23
                                                                                                          entity in connection06/29/23
                                                                                                                               with a separationpage
                                                                                                                                                 page120120of
                                                                                                                                                agreement,  of129
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divorce decree or court order are not dischargable. Priority support debts must be paid in full in your Chapter 13 or it cannot be confirmed. DEBTS YOU AGREED
TO ASSUME IN MARITAL SETTLEMENT AGREEMENTS are NON-DISCHARGEABLE if your ex-spouse files an adversary complaint, and the Judge rules that
(a) you do not have the ability to pay the debt OR (b) discharging such debt would result in a benefit to you that outweighs the detriment to ex-spouse or your
child. You agree to get advice in writing from your divorce attorney and send to us with copy of agreement. You must list any ex-spouse or spouse as a creditor.
No guarantee any divorce debt is dischargeable. Property you are still on title to, or have a right to in a divorce, may be taken by a Bankruptcy trustee in a
Chapter 7 and sold, or may be disposable income in a 13.
2.      Student loans and educational benefits are not discharged in Chapter 7 or 13 if government insured loan or owed to non-profit school unless you pay us to
file a complaint within the bankruptcy to prove repayment would be an "undue hardship", and win. Interest on student loans continue to run while you are in a
Chapter 13.
3.     Cosigners, joint applicants, debts of persons other than debtor, debts incurred during marriage in community property states, or for family support are
not discharged and joint, community or co-signers are not protected from collection unless you pay 100% of the debt. Creditors can collect from co-signors and put
your bankruptcy on their credit report, and report them negatively to credit bureaus. You may prevent this by making the regular payments to the creditor.
Creditors can liquidate collateral of your co-signer and refuse to continue payment in installments. Property you are joint on with other persons can be
LIQUIDATED to pay your creditors.
4.     TAX DEBTS. Most taxes are not discharged in bankruptcy. However, income tax debt (1040 type tax) can be discharged if the following four rules are met:
(1). The tax return was DUE at least 3 YEARS (plus extensions) before the filing of your bankruptcy case. (2). You FILED your income tax return at least 2
YEARS before your bankruptcy was filed. (You did not file a return if the tax authority or IRS had to file one for you, or if you didn't send the return to the District
Director) (3). You did not wilfully intend to evade the tax. (4). The tax must have been ASSESSED over 240 DAYS before the bankruptcy filing. We recommend
you meet with the IRS or state department of revenue to make sure all the conditions have been met, before you hire us or file a bankruptcy. Fraudulent taxes
and taxes on unfiled returns can be discharged in a Chapter 13 case. Time in an offers in compromise, & time in bankruptcy plus 6 months, will extend the above
time periods. Employers' share of FICA & FUTA is dischargeable, but not trust fund taxes like the employee's funds or sales tax.
5. Fines, traffic tickets, parking tickets, penalties to governmental unit are not discharged in Chapter 7, may not be discharged in 13 without full payment.
6. Non filing spouse: If you file individually, your spouse is not our client. Only your debts are discharged. If you want to protect a non-filing spouse, pay their
bills or file a joint case with them. Family expenses (medical bills, rent and necessities may be collected from a non-filing spouse). Wisconsin, community
property is liable for community debts. 7. DUI PERSONAL INJURIES, DEBTS YOU DON'T LIST are not discharged.
8. DEBTS where creditors successfully object to discharge may survive Creditors, the Trustee, or Court, can try to deny discharge based on many factors,
a. Income sufficient to pay a percentage of your unsecured debt. b. Failure to keep books and records documenting your financial affairs. c. Luxury purchases
or cash advances within 60 days of filing or without intent or ability to repay. d. Debts you made by false pretenses, breach of fiduciary duty, wilful and malicious
injuries to others e. Benefit overpayments like aid or unemployment if a determination of fraud has been made before or during bankruptcy. f. Failure to appear
at meetings, court dates, or co-operate with the Trustee.
9. INTEREST ON NON-DISCHARGEABLE DEBTS in a Chapter 13 continues to accrue, and CREDITORS WHO DO NOT FILE CLAIMS in your Chapter 13 plan within 90 days (180 days for
governmental units) of the meeting of creditors, do not get paid. Your plan and their claim should provide for interest at contract rate, or you will have to pay the
debt outside the Chapter 13 plan. Property taxes must be paid by you directly to avoid sale for delinquent taxes.
10. LIQUIDATION OF REAL AND PERSONAL PROPERTY. If you file a Chapter 7, any property that is not listed and claimed exempt on Schedule C pursuant to
state or federal law is taken and sold by the trustee to pay creditors. You agree to assume the risk that your property will be taken and sold by the bankruptcy
trustee (at or less than what it is worth) if we can't protect it under applicable state law. You get a discharge, but the trustee can take property not listed and
exempted on schedules B and C and sell it for whatever price will provide some benefit to creditors.
11. CHANGE IN LAWS. Laws & court cases change constantly. We can file your case today if you pay us in full (some attorneys give credit, we don't) pay the
filing fee and sign your petition in our main office. ANY DELAY either in hiring us, or after, IS YOUR RESPONSIBILITY. ADVERSE RULINGS Judges that sit in
adjoining courtrooms can rule differently on the same facts. We can predict but can't guarantee a judge will or will not rule against you. You accept the risk of a
judge ruling against you, as in any lawsuit.
12. PAYMENTS TO CREDITORS YOU PREFERRED to pay more than $600 in front of others, within 1 yr if a relative or insider, or within 90 days if another
creditor, so don't pay off debts to keep credit cards or protect others. TRANSFERS OF PROPERTY within 4 years that made you unable to pay your debts at the
time can be reversed by a Trustee and the transferee will have to give back the property you transferred.
13. SURRENDER OF PROPERTY Bankruptcy gets rid of debts, but real estate, condos and time shares remain in your name until a foreclosure sale or the lender
accepts a deed in lieu of foreclosure. Turn condo keys over to condo association or remain liable for assessments after filing, and make sure you keep buildings &
land insured and maintained and secured until it is taken back by lender or out of your name. If you let a house go vacant and pipes explode or someone gets
killed in there you may be liable.
14. RIGHT TO RECEIVE inheritances, tax refunds, injury claims, compensation of any kind, insurance or realty commissions, are property of the bankruptcy estate
and you will surrender these to the trustee unless they are claimed exempt on Schedule C, and no objection to your claim of exemption is upheld. Do not deduct
extra money from taxes so you are entitled to a refund, change your W-9 if necessary.
15. JOINT ACCOUNT HOLDERS holders entire amount in the account could be taken by the trustee under Chapter 7.
16. MARRIED COUPLES GOING THROUGH DIVORCE: We have been advised to seek independent counsel for our bankruptcy. We understand that Peter Francis
Geraci does not represent us with regard to any divorce matters and does not make any representations regarding what will happen in divorce court. We have
decided to file a bankruptcy together dispite the fact that we are getting a divorce and our interests could be adverse. We have agreed to cooperate with each
other in this joint bankruptcy.
17. AUTO LEASES & INSTALLMENT AGREEMENTS to purchase things, leases and almost all contracts will be void after bankruptcy. They are "executory
contracts", and if they are of no benefit to the bankruptcy estate and not assumed within 60 days of filing, they are void. Debtors have been warned of this, and
unless there is a novation under state law, or agreement not to use bankrptcy to void the contract, the debtors rights under the contract are extinguished. Debtor
agrees to be responsible for obtaining such agreements or losing rights under such contracts. Debtor agrees that his or her attorney will not file motions to assume
such contracts.
18. Setoffs if you have money in a credit union or creditor account, or other loans that cross-collateralized, any money or property may be taken for both loans.
The Undersigned have read the above & assume the risk that a debt is not discharged in bankruptcy, that our non-exempt property will be taken and sold by the
bankruptcy trustee if it can't be protected, that the trustee might object if I/we have excess income, or change in State, Federal or Bankruptcy laws before the case
is filed in Court AND WE HAVE TO READ, CHECK, & MAKE SURE OUR PETITION IS ACCURATE!!!!


 10/25/2022                                               /s/ Cathy Jo Ann Weaver
                                                                              Cathy Jo Ann Weaver




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                STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341


  INTRODUCTION
  Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Trustee, United States Department of Justice, has prepared this
  information sheet to help you understand some of the possible consequences of filing a bankruptcy petition under Chapter 7 of the Bankruptcy
  Code. This information is intended to make you aware of.
  (1) the potential consequences of seeking a discharge in bankruptcy, including the effects on credit history;
  (2) the effect of receiving a discharge of debts;
  (3) the effect of reaffirming a debt; and
  (4) your ability to file a petition under a different chapter of the bankruptcy code.

  There are many other provisions of the Bankruptcy Code that may affect you situation. This information sheet contains only general principles of
  law and is not a substitute for legal advice. If you have questions or need further information as to how the bankruptcy laws apply to your specifc
  case, you should consult with your lawyer.



  WHAT IS A DISCHARGE?
  The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a
  court order that says you do not have to repay your debts, but there are a number of exceptions. Debts which may not be discharged in your
  chapter 7 case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and restitution; debts obtained
  throught fraud or deception; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may be denied entirely if
  you, for example, destroy or conceal property; destroy, conceal or falsify records; or make false oath. Creditors cannot ask you to pay any debts
  which have been discharged. You can only receive a chapter 7 discharge once every eight (8) years.

  WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?
  The fact that you filed bankruptcy can appear on your credit report for as long as 10 years. Thus, filing a bankruptcy petition may affect your ability
  to obtain credit in the future. Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you
  incurred after you filed bankruptcy.

  WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?
  After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own. Reaffirming a debt means that you
  sign and file with the court a legally enforceable document, which states that you promise to repay all or a portion of the debt that may otherwise have
  been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court within 60 days after the first meeting of
  creditors.

  Reaffirmation agreements are strictly voluntary -- they are not required by the Bankruptcy Code or other state or federal law. You can voluntarily repay
  any debt instead of signing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

  Reaffirmation agreements must not impose an undue burden on you or your dependents and must be in your best interest. If you decide to sign a
  reaffirmation agreement, you may cancel it at anytime before the court issues your discharge order OR within sixty (60) days after the reaffirmation
  agreement was filed with the court, whichever is later. If you reaffirm a debt and fail to make payments required in the reaffirmation agreement, the
  creditor can take action against you to recover any property that was given as security for the loan and you may remain personally liable for any
  remaining debt.

  OTHER BANKRUPTCY OPTIONS
  You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7,
  you may be eligible to convert your case to a different chapter.

  Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically feasible, all
  property you own that is not exempt from these actions.

  Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also available to individuals. Creditors vote on whether to accept
  or reject a plan, which also must be approved by the court. While the debtor normally remains in control of the assets, the court can order the
  appointment of a trustee to take possession and control of the business.

  Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers must propose a plan to repay their creditors over a
  three-to-five year period and it must be approved by the court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors'
  farming operations during the pendency of the plan.

  Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a
  plan which must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive
  a discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not
  exceed $1,000,000 (less than $307,675 in unsecured debts and less than $922,975 in secured debts).

  AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION, INCLUDING
  HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.




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                                                                                         129
Debtor 1    Cathy                     Jo Ann                    Weaver
            __________________________________________________________________                                Case Number (if known) ______________________________
            First Name                 Middle Name                     Last Name




 Part 6:        Answer These Questions for Reporting Purposes


                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                   as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                     No. Go to line 16b.
                                                     Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.

                                                     No. Go to line 16c.
                                                     Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.

                                                 ________________________________________________________________

17.   Are you filing under
                                                 No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
                                                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      Do you estimate that after                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                         No.
      administrative expenses
                                                           Yes.
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                      1-49                                    1,000-5,000                                     25,001-50,000
      you estimate that you                      50-99                                   5,001-10,000                                    50,001-100,000
      owe?                                       100-199                                 10,001-25,000                                   More than 100,000
                                                 200-999

19.   How much do you                            $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your assets to                    $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      be worth?                                  $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                 $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

20.   How much do you                            $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your liabilities                  $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      to be?                                     $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                 $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

 Part 7:        Sign Below


                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.

                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.

                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                          û      ________________________________________
                                                 Signature of Debtor 1
                                                                                                                 û     ______________________________________
                                                                                                                       Signature of Debtor 2


                                                              10/25/2022
                                                 Executed on _________________                                         Executed on _________________
                                                                MM / DD / YYYY                                                        MM / DD / YYYY

Official Form 101        Record #   889196               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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Debtor 1     Cathy                     Jo Ann                    Weaver
             __________________________________________________________________                                  Case Number (if known) ______________________________
                First Name                   Middle Name                    Last Name


 27    Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation


            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

           Cathy
           _____________________________
                 J. Weaver                                  Describe the nature of the business                             Employer Identification number
           _____________________________                                                                                    Do not include Social Security number or
                                                            1099 independent contractor - ride share driver
           _____________________________                                                                                        EIN: ______________________________
           _____________________________
                                                           Name of accountant or bookkeeper                                 Dates business existed
                                                            NA
                                                                                                                                08/2016 - present



 28    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

            No.
            Yes. Fill in the details.
                                                           Date issued

  Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      û     ________________________________________
            Signature of Debtor 1
                                                                                 û      ______________________________________
                                                                                        Signature of Debtor 2


                  10/25/2022
            Date _________________                                                      Date _________________
                  MM / DD / YYYY                                                              MM / DD / YYYY


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No

           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No

           Yes. Name of person ___________________________________________________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).




Official Form 107             Record # 889196                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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   Fill in this information to identify your case:


    Debtor 1                Cathy                     Jo Ann                    Weaver
                            __________________________________________________________________
                            First Name                     Middle Name                  Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                     Middle Name                  Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                  (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                        Check if this is an
                                                                                                                                                      amended filing




Official Form 106 Dec
Declaration About an Individual Debtor's Schedules                                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below




   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No

             Yes. Name of Person _____________________________________________.                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




  û      ________________________________________
         Signature of Debtor 1
                                                                                 û     ______________________________________
                                                                                       Signature of Debtor 2


               10/25/2022
         Date _________________                                                        Date _________________
              MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 106Dec                     Record # 889196        Declaration About an Individual Debtor's Schedules                                                     page 1
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                                                                                      A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                        together-called a joint case. If you file a joint
                                                                                      case and each spouse lists the same mailing
              Section 521(a)(1) of the Bankruptcy Code
              requires that you promptly file detailed information                    address on the bankruptcy petition, the
              about your creditors, assets, liabilities, income,                      bankruptcy court generally will mail you and
              expenses and general financial condition. The                           your spouse one copy of each notice, unless
              court may dismiss your bankruptcy case if you do
              not file this information within the deadlines set by
                                                                                      you file a statement with the court asking that
              the Bankruptcy Code, the Bankruptcy Rules, and                          each spouse receive separate copies.
              the local rules of the court.

              For more information about the documents and                            Understand which services you
              their deadlines, go to:                                                 could receive from credit
              http://www.uscourts.gov/forms/bankruptcy-forms
                                                                                      counseling agencies


           Bankruptcy crimes have serious
                                                                                      The law generally requires that you receive a
                                                                                      credit counseling briefing from an approved
           consequences
                                                                                      credit counseling agency. 11 U.S.C. § 109(h).
                                                                                      If you are filing a joint case, both spouses must
                 If you knowingly and fraudulently conceal
                                                                                      receive the briefing. With limited exceptions,
                 assets or make a false oath or statement
                                                                                      you must receive it within the 180 days before
                 under penalty of perjury-either orally or
                                                                                      you file your bankruptcy petition. This briefing
                 in writing-in connection with a
                                                                                      is usually conducted by telephone or on the
                 bankruptcy case, you may be fined,
                                                                                      Internet.
                 imprisoned, or both.
                                                                                      In addition, after filing a bankruptcy case, you
                 All information you supply in connection with a
                                                                                      generally must complete a financial
                 bankruptcy case is subject to
                                                                                      management instructional course before you
                 examination by the Attorney General acting
                                                                                      can receive a discharge. If you are filing a joint
                 through the Office of the U.S. Trustee, the
                                                                                      case, both spouses must complete the course.
                 Office of the U.S. Attorney, and other
                 offices and employees of the U.S.
                                                                                      You can obtain the list of agencies approved to
                 Department of Justice.
                                                                                      provide both the briefing and the instructional
                                                                                      course from: http://www.uscourts.gov/services-
           Make sure the court has your                                               forms/bankruptcy/credit-counseling-and-debtor-
           mailing address                                                            education-courses.

           The bankruptcy court sends notices to the                                  In Alabama and North Carolina, go to:
           mailing address you list on Voluntary Petition                             http://www.uscourts.gov/services-
           for Individuals Filing for Bankruptcy (Official                            forms/bankruptcy/credit-counseling-and-
           Form 101). To ensure that you receive                                      debtor-education-courses.
           information about your case, Bankruptcy
           Rule 4002 requires that you notify the court of                            If you do not have access to a computer, the
           any changes in your address.                                               clerk of the bankruptcy court may be able to help
                                                                                      you obtain the list.




                   I have read the above document, and any questions I may have were answered by my attorney before signing.


                           10/25/2022                                                                                       X Date & Sign
                                                                  Cathy Jo Ann Weaver




                 10   25
         Dated: ____/_____/2022
                                             Attorney: John Madison Sadler
889196     Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                  page 4
                           Case 22-31102-pes Doc 1 Filed 10/27/22 Page 57 of 60
Debtor 1     Cathy                     Jo Ann                    Weaver
                                                             Case Number (if known) ______________________________
             __________________________________________________________________
               USDC
               USDCIN/ND
                    IN/NDcase
             First Name
                          case3:22-cv-00395-MGG
                               3:22-cv-00395-MGG document
                                                 document119-1
                                          Middle Name
                                                          67-1 filed
                                                                   filed01/23/23
                                                                            06/29/23 page
                                                                         Last Name
                                                                                             page126  126of  of129
                                                                                                                129

   Part 2:         List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



     Describe your unexpired personal property leases                                                                                            Will the lease be assumed?

    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


  Part 3:         Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.




û    ________________________________________
     Signature of Debtor 1
                                                                       û     ________________________________________
                                                                             Signature of Debtor 2

           10/25/2022
     Date _________________                                                  Date _________________
          MM / DD / YYYY                                                          MM / DD / YYYY

Official Form 108               Record # 889196         Statement of Intention for Individuals Filing Under Chapter 7                                                   Page 2 of 2
                    Case 22-31102-pes Doc 1 Filed 10/27/22 Page 58 of 60
        USDC
        USDCIN/ND
             IN/NDcase
                   case3:22-cv-00395-MGG
                        3:22-cv-00395-MGG document
                                          document119-1
                                                   67-1 filed
                                                          filed01/23/23
                                                                06/29/23 page
                                                                          page127
                                                                               127of
                                                                                   of129
                                                                                      129
                            UNITED STATES BANKRUPTCY COURT
In re
                 NORTHERN DISTRICT OF INDIANA SOUTH BEND DIVISION
 Cathy Jo Ann Weaver / Debtor                                                                            Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




10/25/2022                                                                                                               X Date & Sign
                                                           Cathy Jo Ann Weaver




           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
Record #     889196                                                                                    B 1D (Official Form 1, Exh.D)(12/08)   Page 1 of 1
                                        CaseDISCLAIMER
                                                 22-31102-pes Debtors         Doc 1 Filed    have10/27/22
                                                                                                       read andPage         agree:   59 of 60
1.    Divorce USDC
               USDC
              or          IN/ND
                           IN/ND
                 family support debts case
                                       case
                                      to       3:22-cv-00395-MGG
                                                3:22-cv-00395-MGG
                                         a spouse, ex-spouse, child, guardian ad litemdocument
                                                                                      document
                                                                                      or similar person119-1
                                                                                                       67-1
                                                                                                       or            filed
                                                                                                                      filed01/23/23
                                                                                                          entity in connection06/29/23
                                                                                                                               with a separationpage
                                                                                                                                                 page128128of
                                                                                                                                                agreement,  of129
                                                                                                                                                               129
divorce decree or court order are not dischargable. Priority support debts must be paid in full in your Chapter 13 or it cannot be confirmed. DEBTS YOU AGREED
TO ASSUME IN MARITAL SETTLEMENT AGREEMENTS are NON-DISCHARGEABLE if your ex-spouse files an adversary complaint, and the Judge rules that
(a) you do not have the ability to pay the debt OR (b) discharging such debt would result in a benefit to you that outweighs the detriment to ex-spouse or your
child. You agree to get advice in writing from your divorce attorney and send to us with copy of agreement. You must list any ex-spouse or spouse as a creditor.
No guarantee any divorce debt is dischargeable. Property you are still on title to, or have a right to in a divorce, may be taken by a Bankruptcy trustee in a
Chapter 7 and sold, or may be disposable income in a 13.
2.      Student loans and educational benefits are not discharged in Chapter 7 or 13 if government insured loan or owed to non-profit school unless you pay us to
file a complaint within the bankruptcy to prove repayment would be an "undue hardship", and win. Interest on student loans continue to run while you are in a
Chapter 13.
3.     Cosigners, joint applicants, debts of persons other than debtor, debts incurred during marriage in community property states, or for family support are
not discharged and joint, community or co-signers are not protected from collection unless you pay 100% of the debt. Creditors can collect from co-signors and put
your bankruptcy on their credit report, and report them negatively to credit bureaus. You may prevent this by making the regular payments to the creditor.
Creditors can liquidate collateral of your co-signer and refuse to continue payment in installments. Property you are joint on with other persons can be
LIQUIDATED to pay your creditors.
4.     TAX DEBTS. Most taxes are not discharged in bankruptcy. However, income tax debt (1040 type tax) can be discharged if the following four rules are met:
(1). The tax return was DUE at least 3 YEARS (plus extensions) before the filing of your bankruptcy case. (2). You FILED your income tax return at least 2
YEARS before your bankruptcy was filed. (You did not file a return if the tax authority or IRS had to file one for you, or if you didn't send the return to the District
Director) (3). You did not wilfully intend to evade the tax. (4). The tax must have been ASSESSED over 240 DAYS before the bankruptcy filing. We recommend
you meet with the IRS or state department of revenue to make sure all the conditions have been met, before you hire us or file a bankruptcy. Fraudulent taxes
and taxes on unfiled returns can be discharged in a Chapter 13 case. Time in an offers in compromise, & time in bankruptcy plus 6 months, will extend the above
time periods. Employers' share of FICA & FUTA is dischargeable, but not trust fund taxes like the employee's funds or sales tax.
5. Fines, traffic tickets, parking tickets, penalties to governmental unit are not discharged in Chapter 7, may not be discharged in 13 without full payment.
6. Non filing spouse: If you file individually, your spouse is not our client. Only your debts are discharged. If you want to protect a non-filing spouse, pay their
bills or file a joint case with them. Family expenses (medical bills, rent and necessities may be collected from a non-filing spouse). Wisconsin, community
property is liable for community debts. 7. DUI PERSONAL INJURIES, DEBTS YOU DON'T LIST are not discharged.
8. DEBTS where creditors successfully object to discharge may survive Creditors, the Trustee, or Court, can try to deny discharge based on many factors,
a. Income sufficient to pay a percentage of your unsecured debt. b. Failure to keep books and records documenting your financial affairs. c. Luxury purchases
or cash advances within 60 days of filing or without intent or ability to repay. d. Debts you made by false pretenses, breach of fiduciary duty, wilful and malicious
injuries to others e. Benefit overpayments like aid or unemployment if a determination of fraud has been made before or during bankruptcy. f. Failure to appear
at meetings, court dates, or co-operate with the Trustee.
9. INTEREST ON NON-DISCHARGEABLE DEBTS in a Chapter 13 continues to accrue, and CREDITORS WHO DO NOT FILE CLAIMS in your Chapter 13 plan within 90 days (180 days for
governmental units) of the meeting of creditors, do not get paid. Your plan and their claim should provide for interest at contract rate, or you will have to pay the
debt outside the Chapter 13 plan. Property taxes must be paid by you directly to avoid sale for delinquent taxes.
10. LIQUIDATION OF REAL AND PERSONAL PROPERTY. If you file a Chapter 7, any property that is not listed and claimed exempt on Schedule C pursuant to
state or federal law is taken and sold by the trustee to pay creditors. You agree to assume the risk that your property will be taken and sold by the bankruptcy
trustee (at or less than what it is worth) if we can't protect it under applicable state law. You get a discharge, but the trustee can take property not listed and
exempted on schedules B and C and sell it for whatever price will provide some benefit to creditors.
11. CHANGE IN LAWS. Laws & court cases change constantly. We can file your case today if you pay us in full (some attorneys give credit, we don't) pay the
filing fee and sign your petition in our main office. ANY DELAY either in hiring us, or after, IS YOUR RESPONSIBILITY. ADVERSE RULINGS Judges that sit in
adjoining courtrooms can rule differently on the same facts. We can predict but can't guarantee a judge will or will not rule against you. You accept the risk of a
judge ruling against you, as in any lawsuit.
12. PAYMENTS TO CREDITORS YOU PREFERRED to pay more than $600 in front of others, within 1 yr if a relative or insider, or within 90 days if another
creditor, so don't pay off debts to keep credit cards or protect others. TRANSFERS OF PROPERTY within 4 years that made you unable to pay your debts at the
time can be reversed by a Trustee and the transferee will have to give back the property you transferred.
13. SURRENDER OF PROPERTY Bankruptcy gets rid of debts, but real estate, condos and time shares remain in your name until a foreclosure sale or the lender
accepts a deed in lieu of foreclosure. Turn condo keys over to condo association or remain liable for assessments after filing, and make sure you keep buildings &
land insured and maintained and secured until it is taken back by lender or out of your name. If you let a house go vacant and pipes explode or someone gets
killed in there you may be liable.
14. RIGHT TO RECEIVE inheritances, tax refunds, injury claims, compensation of any kind, insurance or realty commissions, are property of the bankruptcy estate
and you will surrender these to the trustee unless they are claimed exempt on Schedule C, and no objection to your claim of exemption is upheld. Do not deduct
extra money from taxes so you are entitled to a refund, change your W-9 if necessary.
15. JOINT ACCOUNT HOLDERS holders entire amount in the account could be taken by the trustee under Chapter 7.
16. MARRIED COUPLES GOING THROUGH DIVORCE: We have been advised to seek independent counsel for our bankruptcy. We understand that Peter Francis
Geraci does not represent us with regard to any divorce matters and does not make any representations regarding what will happen in divorce court. We have
decided to file a bankruptcy together dispite the fact that we are getting a divorce and our interests could be adverse. We have agreed to cooperate with each
other in this joint bankruptcy.
17. AUTO LEASES & INSTALLMENT AGREEMENTS to purchase things, leases and almost all contracts will be void after bankruptcy. They are "executory
contracts", and if they are of no benefit to the bankruptcy estate and not assumed within 60 days of filing, they are void. Debtors have been warned of this, and
unless there is a novation under state law, or agreement not to use bankrptcy to void the contract, the debtors rights under the contract are extinguished. Debtor
agrees to be responsible for obtaining such agreements or losing rights under such contracts. Debtor agrees that his or her attorney will not file motions to assume
such contracts.
18. Setoffs if you have money in a credit union or creditor account, or other loans that cross-collateralized, any money or property may be taken for both loans.
The Undersigned have read the above & assume the risk that a debt is not discharged in bankruptcy, that our non-exempt property will be taken and sold by the
bankruptcy trustee if it can't be protected, that the trustee might object if I/we have excess income, or change in State, Federal or Bankruptcy laws before the case
is filed in Court AND WE HAVE TO READ, CHECK, & MAKE SURE OUR PETITION IS ACCURATE!!!!


 10/25/2022                                                                                                                                                   X Date & Sign
                                                                              Cathy Jo Ann Weaver




Record #      889196                                                                                                                                      Asset Disclosure   Page 1 of 1
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           USDC
           USDCIN/ND
           Cathy
                 IN/NDcase
                       case 3:22-cv-00395-MGG
                             3:22-cv-00395-MGG
                          Jo Ann           Weaver
                                                  document
                                                  document119-1
                                                           67-1 filed
                                                                 filed01/23/23
                                                                       06/29/23 page
                                                                                 page129
                                                                                      129of
                                                                                          of129
                                                                                             129
Debtor 1    __________________________________________________________________                                Case Number (if known) ______________________________
            First Name                    Middle Name                    Last Name


 Part 3:         Sign Below


           By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                               Cathy Jo Ann Weaver


             Date:10/25/2022
           If you checked line 14a, do NOT fill out or file Form 122A-2.

           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1          Record # 889196               Chapter 7 Statement of Your Current Monthly Income
